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 1    Joseph R. Saveri (State Bar No. 130064)
      Steven N. Williams (State Bar No. 175489)
 2    Jiamin Chen (pro hac vice to be submitted)
      JOSEPH SAVERI LAW FIRM, INC.
 3
      601 California Street, Suite 1000
 4    San Francisco, California 94108
      Telephone: (415) 500-6800
 5    Facsimile: (415) 395-9940
      jsaveri@saverilawfirm.com
 6    swilliams@saverilawfirm.com
 7    jchen@saverilawfirm.com

 8    Counsel for AnywhereCommerce, Inc.

 9    [Additional Counsel Listed on Signature Page]
10
                                 UNITED STATES DISTRICT COURT
11
                               NORTHERN DISTRICT OF CALIFORNIA
12

13    4361423 CANADA INC. d/b/a
      ANYWHERECOMMERCE,                               Case No.
14
                        Plaintiff,                    COMPLAINT FOR PATENT
15                                                    INFRINGEMENT
     v.
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                                                      JURY TRIAL DEMANDED
      SQUARE, INC.,
17

18                      Defendant.

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                                                           COMPLAINT FOR PATENT INFRINGEMENT
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 1          Plaintiff 4361423 Canada Inc. d/b/a AnywhereCommerce (“AnywhereCommerce”), for its

 2   Complaint for Patent Infringement and Demand for Jury Trial against Defendant Square, Inc.

 3   (“Square” or “Defendant”), states and alleges as follows:

 4                                          INTRODUCTION

 5          1.         This is a patent infringement case filed to address the willful infringement by

 6   Square, Inc. of several patents covering groundbreaking technology allowing the use of mobile

 7   phones to accept credit card payments. Square has knowingly infringed these patents for years—

 8   despite previously acknowledging the priority of these patents in various filings before the United

 9   States Patent Office—and continues to willfully infringe these patents today.

10          2.         The origins of the patents predate Square itself. On February 10, 2009, a group

11   of inventors, including a Hong Kong national named Ben Lo (Chi Wha Lo on the patent), filed the

12   first of several patent applications on their invention providing for the use of a mobile phone to

13   accept credit card payments. One embodiment of the disclosed invention allowed for mobile

14   phones to accept credit card payments via a card reader connected to the audio jack of a mobile

15   phone, allowing the credit card information to be read and provided to the mobile phone, and then

16   transmitted from the mobile phone to a transaction network so that the commercial transaction can

17   be validated and completed.

18          3.         The patent applications filed by Mr. Lo and his colleagues were granted, and two

19   patents were initially issued by the United States Patent & Trademark Office. On October 9, 2012,

20   the U.S. Patent Office issued U.S. Patent No. 8,281,998 (“the ‘998 patent”) and on October 16,

21   2012, the U.S. Patent Office issued U.S. Patent No. 8,286,875 (“the ‘875 patent”). Ultimately,

22   Mr. Lo and the other inventors were granted a total of nine U.S. patents, with the possibility of

23   more patents to issue, as additional patent applications are currently pending. The patents are

24   owned by the plaintiff in this case, 4361423 Canada Inc., a Quebec corporation actively engaged

25   in the business of providing payment technology solutions under the business name

26   AnywhereCommerce.

27          4.         During the same time that AnywhereCommerce sought to protect its technology

28   through the patent process, Square would take a much different approach. Square simply took that
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 1   same technology for itself, becoming one of the largest and most famous companies in the world

 2   by falsely holding itself out as the originator of technology allowing the use of mobile phones to

 3   accept credit card payments.

 4          5.         That is reflected in Square’s initial public offering (the “Square IPO”) and

 5   subsequent stock rise. From the date of the Square IPO (November 15, 2015), Square was off to

 6   the races, so to speak, and its share price reflects same: opening at $9.00 and growing as high as

 7   $99.00 (September 2018), with the price currently at approximately $72.00, giving Square a

 8   current market capitalization of $31.48 billion.

 9          6.         In the hope that Square, given all of its market share and business success, might

10   find it appropriate to compensate AnywhereCommerce for the use of AnywhereCommerce’s

11   technology on which Square’s business was largely built, AnywhereCommerce approached

12   Square in January 2019 with its patent infringement claims and attempted to engage Square in a

13   negotiation regarding the AnywhereCommerce patents.

14          7.         The parties held discussions from January to April 2019. During this time,

15   Square represented to AnywhereCommerce that it was conducting due diligence and assured

16   AnywhereCommerce that Square intended to negotiate a financial resolution to the patent dispute

17   in good faith. AnywhereCommerce soon learned that this was not the case.

18          8.         In April 2019, Square revealed what it had actually been doing during this period

19   of time: that it had pretended to negotiate. Rather than a settlement proposal, Square presented

20   AnywhereCommerce’s counsel with several draft legal actions it threatened to initiate against

21   AnywhereCommerce—actions           obviously       designed    with   the   intention   of   making

22   AnywhereCommerce think better of daring to enforce its patent rights against a company the size

23   of Square. These threatened legal actions included not only proceedings against Anywhere

24   Commerce, but proceedings against inventor Ben Lo’s company, BBPOS, a completely separate

25   company from AnywhereCommerce.

26          9.         In addition, representatives from Square explained in a rehearsed speech that it

27   was “Jack’s position” that he (Jack Dorsey) believed himself to be one of protectors of the “Silicon

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 1   Valley Ecosystem” and that Square would not overpay to a “patent troll” 1 because it could upset

 2   the delicate balance in the Ecosystem. This is obviously a preposterous statement but sheds a

 3   glimpse into Square’s actual core mission regarding intellectual property and its treatment of

 4   intellectual property rights owned by those outside of the Ecosystem.

 5             10.         Square’s threat tactics are exemplary of the same type of “win at all costs”

 6   business mentality with which Square has otherwise approached AnywhereCommerce’s patent

 7   rights.       Square has made itself into one of the wealthiest companies in the world, in part, by

 8   willfully infringing AnywhereCommerce’s patents and by wrongfully appropriating technology

 9   that it did not invent first.

10             11.         Provided with a reasonable opportunity to negotiate in good faith with

11   AnywhereCommerce, Square opted instead to use its significant market power and money to

12   attempt to bully a small Canadian company and a hard-working Hong Kong inventor (and his

13   company), rather than recognize their innovations and fairly account for Square’s appropriation of

14   their technology.

15             12.         In light of Square’s self-appointed status as guardian of the “Silicon Valley

16   Ecosystem” for intellectual property matters, it is ironic that Square has chosen to use its significant

17   market power, money and reputation to attempt to bully/destroy a small Canadian company and a

18   valid/hard working Hong Kong inventor (and his company), rather than to welcome them into Mr.

19   Dorsey’s Ecosystem and support in their innovation.

20             13.         Nevertheless and in light of the above, AnywhereCommerce has elected to

21   enforce its patent rights according to the law, as set forth at length below.

22                                        NATURE OF THIS ACTION

23             14.         This is an action for patent infringement of United States Patent Nos. 8,286,875;

24   8,281,998; 9,016,566; 9,269,084; 9,311,637; 9,443,239; 9,613,351; and 9,818,107 – each entitled

25   “Apparatus and Method for Commercial Transactions Using a Communication Device” –

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               1
27             Square is well aware the AnywhereCommerce is anything but a “patent troll” and is
     actually a going concern business that has been selling the patented devices for many years.
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 1   (collectively, the “Asserted Patents”) under the Patent Laws of the United States, 35 U.S.C. § 1, et

 2   seq., and seeking damages, injunctive relief, and other relief as appropriate under 35 U.S.C. § 281,

 3   et seq. True and correct copies of the Asserted Patents are attached hereto as Exhibits A-H.

 4                                              THE PARTIES

 5           15.          Plaintiff 4361423 Canada Inc. is a Quebec corporation with a principal place of

 6   business at 418-376 Victoria Ave, Montreal, QC, H3Z 1C3, Canada. 4361423 Canada Inc. is

 7   engaged in the business of providing payment technology solutions under the name

 8   AnywhereCommerce, and the Plaintiff will be referred to throughout this Complaint as

 9   AnywhereCommerce.          AnywhereCommerce has its principal U.S. office at 1100 W. Shaw

10   Avenue, Suite 122, Fresno, CA 93711.

11           16.          Defendant Square, Inc. is a corporation organized and existing under the laws of

12   the State of Delaware with a principal place of business at 1455 Market Street, Suite 600, San

13   Francisco, CA 94103.

14                                      JURISDICTION AND VENUE

15           17.          This is an action for patent infringement arising under the Patent Laws of the

16   United States, Title 35 of the United States Code.

17           18.          This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

18   §§ 1331 and 1338(a) because this action concerns the infringement of United States patents.

19           19.          Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391 and

20   1400(b) because Defendant Square resides in this judicial district, has a regular and established

21   place of business in this judicial district, and has committed acts of patent infringement in this

22   judicial district.

23           20.          This Court has personal jurisdiction over Square for at least the reasons that

24   Square resides in the district, transacts business in the district, has purposefully availed itself of

25   the privileges of doing business in the district, and has committed acts of patent infringement in

26   the district as alleged in this Complaint for patent infringement.

27           21.          Square has sold and offered for sale products that infringe each of the Asserted

28   Patents in this judicial district, including at least the products set forth in this Complaint, including
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 1   transaction card readers for use with a mobile communication device, and related services,

 2   systems, methods and devices. Square has sold and offered for sale, without limitation, the

 3   infringing Square transaction card readers and related services, systems, methods and devices in

 4   this judicial district and elsewhere. Upon information and belief, Square has also imported the

 5   infringing Square transaction card readers into the United States and directed such importation

 6   from this district. Additionally, Square has provided Point of Sale software and transaction servers

 7   in the United States for facilitating infringement, instructed its users to connect its products to a

 8   mobile communication device such as a cell phone or tablet, and directed use of the Square Point

 9   of Sale app on a mobile communication device – all in furtherance of Square’s infringement of the

10   Asserted Patents and, upon information and belief, all within or directed from this district.

11                                 THE PATENTED TECHNOLOGIES

12          22.         AnywhereCommerce was founded in 2006 by pioneers of mobile payment

13   technologies. Committed to innovation, AnywhereCommerce has developed a complete range of

14   payment card readers, mobile apps, gateway connectivity, developer tools, and customized

15   services. With its deep industry knowledge, AnywhereCommerce has built a platform of products

16   and services that enables clients and partners to quickly extend payment acceptance for large and

17   small businesses everywhere. AnywhereCommerce has offices throughout North and South

18   America, and has sold over 11 million card readers in 15 countries.

19          23.         With its groundbreaking developments, AnywhereCommerce developed one of

20   the strongest patent portfolios in the industry. As pioneers in the industry, its inventors were the

21   first to invent and patent a comprehensive mobile point-of-sale payment solution utilizing

22   handheld devices and mobile communications.

23          24.         The Asserted Patents – each entitled “Apparatus and Method for Commercial

24   Transactions Using a Communication Device” – were duly issued by the United States Patent and

25   Trademark Office to date as follows:

26                •   U.S. Patent No. 8,286,875 issued on October 16, 2012;

27                •   U.S. Patent No. 8,281,998 issued on October 9, 2012;

28                •   U.S. Patent No. 9,016,566 issued on April 28, 2015;
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 1                •   U.S. Patent No. 9,269,084 issued on February 23, 2016;

 2                •   U.S. Patent No. 9,311,637 issued on April 12, 2016;

 3                •   U.S. Patent No. 9,443,239 issued on September 13, 2016;

 4                •   U.S. Patent No. 9,613,351 issued on April 4, 2017; and

 5                •   U.S. Patent No. 9,818,107 issued on November 14, 2017.

 6   Additional patents are expected to issue claiming priority to AnywhereCommerce’s original patent

 7   applications.

 8          25.         AnywhereCommerce is and has been at all relevant times the owner by

 9   assignment of the Asserted Patents.

10          26.         In general, the inventions of the Asserted Patents are applicable to a payment

11   transaction device such as a credit/debit card reader for use with a mobile communication device,

12   such as a cell phone or tablet, for the purpose of effecting commercial transactions. The robust

13   and growing list of mobile point-of-sale patents is relevant to most mobile point-of-sale solutions

14   in the market. The AnywhereCommerce patents cover a full range of existing and future-

15   anticipated devices and apply across a broad range of applications, technologies and features

16   including, but not limited to: audio jack, Bluetooth, EMV, smart cards, optical scanners, barcode

17   readers, etc., and user interfaces such as touch screen, fingerprint, proximity detectors, cameras,

18   etc.

19                    SQUARE’S KNOWLEDGE OF THE ASSERTED PATENTS

20          27.         In January, 2019, AnywhereCommerce gave specific notice to Square of

21   Square’s infringement of each of the Asserted Patents. Upon information and belief, however,

22   Square has long understood the applicability of the Asserted Patents to the Square products –

23   particularly the Accused Products.

24          28.         Square became aware of the ‘998 Patent shortly after it issued. The ‘998 Patent

25   is the first issued patent in the AnywhereCommerce family of Asserted Patents. Each of the

26   Asserted Patents is a continuation of the parent patent application.

27          29.         As early as December, 2013, Square analyzed and discussed the ‘998 patent

28   (which it referred to under the inventor name “Tang”) in a petition to invalidate U.S. Patent No.
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 1   8,584,946 to Robert E. Morley, Jr. (“Morley”). There, Square readily acknowledged that Tang,

 2   along with the other ‘998 Patent inventors, broke new ground with their invention of a card reader

 3   that connects to a mobile phone through the phone’s headphone jack to communicate information

 4   read from the card to the mobile phone through the audio jack:

 5           Tang (Exh. 1006) is based on the Tang Provisional (Exh. 1007), which provides
             support for each of the features for which Tang is applied to teach in the grounds
 6
             presented in [the following sections].
 7
             Like the alleged invention of the ‘946 patent, Tang describes a magnetic card reader
 8           that operates in conjunction with a mobile phone to allow merchants to accept and
             process payments via the mobile phone. Moreover, Tang’s card reader connects to
 9           the mobile phone via a headphone jack of the mobile device ….
10           Tang receives analog signals from a magnetic card reader and conditions these
             signals as audio input for a microphone input of a mobile phone.… Thus, Tang
11
             describes the “read head” recited in claims 1, 7, 10, and 12, as well as providing an
12           analog signal obtained from the magnetic stripe of a card swiped along the read
             head to a microphone input of a mobile phone…. Tang further describes using the
13           mobile phone and the conditioned analog signals to request and receive
             authorization for card-based transactions….
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15   Ex. I (IPR2014-00312, Petition for Inter Partes Review) at 5, 40-41; Ex. J (IPR2014-00312,
16   Corrected Petition for Inter Partes Review) at 5, 40-41 (citing Exh. 1006 (‘998 Tang patent) at
17   7:19-39; Exh. 1007 (Tang Provisional application) at Section 300; Exh. 1007 (Tang Provisional)
18   at Figs. 3, 6, 7).
19           30.          The ‘998 Patent and related applications also have been cited as prior art to
20   Square’s own later patent applications, including but not limited to U.S. Patent No. 9,824,350 to
21   Square co-founder Jack Dorsey.
22           31.          AnywhereCommerce has offered to license the Asserted Patents to Square.
23   Notwithstanding its knowledge of the patents and their applicability to Square products, however,
24   Square has declined to take a license and does not have a license to the Asserted Patents. Square
25   continues to make, sell, and offer the infringing devices and related services and systems for sale
26   in the United States, and to import the infringing devices into the United States for sale within the
27   United States.
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 1                           DEFENDANT’S INFRINGING ACTIVITIES

 2          32.        Square has built and continues to build its business manufacturing, selling, and

 3   offering for sale infringing payment transaction devices, services and systems in the United States.

 4   Square has manufactured, used, sold and/or offered for sale in the United States products that

 5   directly and indirectly infringe the Asserted Patents, including, at least, the Square Magstripe

 6   Reader, Square EMV Chip Card Reader, and Square Contactless and Chip Reader together with

 7   Square Point of Sale applications and Square servers (collectively, the “Accused Products”). To

 8   the extent that Square does not make the Accused Products in the United States, it imports

 9   infringing products, and imports products intended to be used in a manner to infringe the Asserted

10   Patents. Upon information and belief, Square has imported the products into the United States

11   from one or more foreign countries, including China.

12          33.        The Accused Products include transaction card readers as described and claimed

13   in the Asserted Patents. Depictions of these devices have appeared on Square’s website as follows:

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18       Square Magnetic Stripe           Square EMV Chip Card              Square Contactless and
         Reader                           Reader                            Chip Reader
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            34.        Each Square Reader is made, used, and sold for the purpose of effecting
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     commercial transactions between an input device and a remote transaction server using a
21
     transaction card, as claimed in the Asserted Patents. These devices have practiced the apparatus
22
     and method claims for commercial payment transactions using a transaction card via a mobile
23
     communication device as claimed by the Asserted Patents, and as will be explained in more detail
24
     below in reference to each patent.
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 1          35.       As Square states and has stated on its website and product packaging, its Readers

 2   allow a user to “[a]ccept credit cards anywhere” and “allow everyone to take payments on their

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     smartphone or tablet,” whether by plugging the Accused Device into a phone’s hands-free headset
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     jack, as with the Magstripe Reader and EMV Reader, or by connecting wirelessly as with the
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     Contactless & Chip Reader.
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 1   See,                         e.g.,                         https://squareup.com/us/en/hardware/reader;

 2   https://squareup.com/us/en/hardware/contactless-chip-reader 2 (“Square Reader lets you accept

 3   chip cards, Apple Pay, and Google Pay anywhere[]”); see also Ex. K (promoting use of the product

 4   to “[a]ccept credit cards on your iPhone,® iPad,® or Android™” and instructing the user to “[p]lug

 5   Square Reader into the headset jack on your device”) ; Ex. M (promoting the Square EMV Chip

 6   Card Reader to “[p]rocess Visa, MasterCard, Discover, and American Express”).

 7             36.       Square provides a downloadable application known as “Point of Sale” (formerly

 8   “Square Register”) to support a full spectrum of services associated with the transaction. See, e.g.,

 9   https://squareup.com/us/en/hardware/reader (“Square Reader works with the free Square Point of

10   Sale app to allow everyone to take payments on their smartphone or tablet.”);

11   https://squareup.com/us/en/hardware/contactless-chip-reader (“Fire up a Square point-of-sale app

12   and             you’re        ready          to            take        payments          anywhere.”);

13   https://play.google.com/store/apps/details?id=com.squareup&hl=en_US (“Square Point of Sale

14   (formerly “Square Register”) is the free Android point-of-sale app that gives you everything you

15   need to take payments and run your business. Accept debit and credit cards with Square Reader

16   for magstripe, and accept EMV chip cards and Android Pay with Square Reader for contactless

17   and chip”; “Download Square Point of Sale free and seamlessly take payments with Square

18   Reader, the cube-shaped card reader you can use anywhere.”); https://squareup.com (“Square

19   Point of Sale is the free app that helps you do it all”); https://squareup.com/us/en/software/point-

20   of-sale (describing Square Point of Sale capabilities). In fact, the Readers “only work[] with the

21   Square [Point of Sale] application and a compatible mobile device” together with Square’s servers.

22   See Ex. L at 1, 2 (“The Reader only works with the Square [Point of Sale] application and a

23   compatible mobile device” and “The Square Reader is cryptographically authenticated to both the

24   [Point of Sale] application and Square back-end servers.”).

25             37.       With all of the Square Readers, security is important.           Accordingly, the

26   information captured by the reader is encrypted “at the moment of swipe,” and only an encrypted

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28   2
         Unless otherwise stated, all websites cited herein were visited on July 25, 2019.
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 1   signal is sent to the user’s mobile communication device and – ultimately – on to Square’s

 2   transaction   servers.      See,   e.g.,   https://squareup.com/help/us/en/article/3797-secure-data-

 3   encryption (“To protect Square account holders and their customers, all information entered by

 4   our customers has been encrypted and submitted to our servers securely” and “Square Point of

 5   Sale uses the Square Reader to encrypt all card-present transactions at the point of swipe, so

 6   information remains encrypted throughout transmission from the reader, to the application, to

 7   Square’s data centers.”).

 8          38.        There are differences between the different Square Readers. In general, the

 9   different Square Readers operate as follows:

10          The Square Magstripe Reader

11          39.        The Square Magstripe Reader is a payment transaction device designed to

12   plug into the hands-free headset jack of a mobile communication device, such as a cell phone or

13   tablet, for use in effecting a commercial transaction. The “read head” within the reader captures

14   information from the card’s magnetic stripe as the card is swiped through a slot in the device. The

15   reader converts the captured information into an encrypted signal that indicates the captured card

16   information in a format suitable for transmission to the headset jack of the cell phone or tablet (or

17   other mobile communication device) and transmits the signal to the communication device through

18   a communication link established by the reader’s output jack to the phone/tablet’s audio jack.

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25          40.        The Square Magstripe Reader (like all of the Square readers) is designed to

26   operate only with the Square servers and Square Point of Sale application, which is downloaded

27   onto a user’s phone/tablet. After the phone/tablet receives the formatted signal from the reader to

28   indicate the captured card information, the Square Point of Sale application on the phone/tablet
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 1   transmits the captured card information to Square’s remote transaction servers for processing and

 2   validation of the transaction. The Square transaction server in turn validates the transaction and

 3   returns information to the phone through the Square Point of Sale application.

 4          The Square EMV Chip Card Reader

 5          41.        The Square EMV Chip Card Reader is designed to read magnetic stripe cards

 6   using the same apparatus as in the Magstripe Reader, and also to read “smart” cards, also known

 7   as EMV or “chip” cards, which are transaction cards containing the card information on an

 8   embedded integrated circuit, also known as a “chip.” The EMV Chip Card Reader therefore

 9   includes the same type of apparatus and functionality as the Magstripe Reader. Additionally, the

10   EMV Chip Card Reader contains structure for reading an EMV chip card. This additional structure

11   includes (1) a second insert slot, this one designed for insertion of the EMV card, and (2) a

12   corresponding smart card reader assembly. See also, e.g., Ex. M (“Square Chip Card Reader”)

13   (“The Square chip card reader has two slots, so you can accept secure EMV chip cards – and

14   magnetic stripe cards, too.”)

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19          42.        With its magnetic stripe apparatus, the EMV Chip Card Reader operates like the
20   Magstripe Reader to effect commercial transactions using a magnetic stripe card.
21   With its EMV Chip Card apparatus, the reader reads the information on
22   the card’s chip, produces a signal indicative of the information on the
23   chip, and converts the signal to a format suitable for transmission to a
24   jack of a mobile communication device such as a cell phone or tablet.
25   It then sends the converted signal to the user’s cell phone or tablet (or
26   other mobile communication device) through the device’s output jack,
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 1   which is coupled to the hands-free jack of the mobile communication device for the transmission

 2   of signals between the devices.

 3          43.         Using a Square Point of Sale application (formerly Square Register), the cell

 4   phone or tablet automatically transmits the appropriate signal/captured information to a remote

 5   Square transaction server for further processing and receives transaction validation information

 6   from the remote server, just as with the Magstripe Reader. See Ex. L (“The Reader only works

 7   with the Square [Point of Sale] application and a compatible mobile device.”).

 8          The Square Contactless and Chip Reader

 9          44.         Square’s Contactless and Chip Reader – a wireless Bluetooth device – is its

10   newest design.

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17          45.         Like the EMV Chip Card Reader, the Square Contactless and Chip Reader is

18   designed as a reader for a smart card with an embedded integrated circuit chip.                 See

19   https://squareup.com/us/en/hardware/contactless-chip-reader (“Square Reader lets you accept chip

20   cards …”).

21          46.         The contactless reader connects wirelessly to a mobile communication device

22   such as a cell phone or tablet, reads the information embedded on the chip, converts the information

23   into a signal that reflects that information, and transmits the

24   information   to    the   mobile   communication         device.   See

25   https://squareup.com/us/en/hardware/contactless-chip-reader

26   (“Connect the reader wirelessly to your Apple or Android device via

27   Bluetooth LE (no need for a headset jack). Fire up a Square point-of-

28   sale app and you’re ready to take payments anywhere.”). Using
                                                                 COMPLAINT FOR PATENT INFRINGEMENT
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 1   software from the Square Point of Sale app, the communication device transmits the

 2   signal/information to Square’s transaction servers, which are located at remote, secured facilities.

 3          47.        As to its specific design, a photo of the Contactless and Chip Reader’s internal

 4   layout is shown below:

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11          48.        As shown in the photo, the device includes a sensor for reading information that

12   is recorded on the card’s integrated circuit chip. Coupled to the sensor on the printed circuit board

13   is a controller for converting the recorded information stored on the integrated circuit into a signal

14   (indicative of the recorded information) suitable for transmission to a mobile communication

15   device. The controller also does the encryption. The Contactless and Chip Reader also includes

16   a communication IC for Bluetooth Connection. The communication IC provides a communication

17   link to the communication device for the transmission of the encrypted signal using Bluetooth

18   technology.    See https://squareup.com/us/en/hardware/contactless-chip-reader (“Connect the

19   reader wirelessly to your Apple or Android device via Bluetooth LE (no need for a headset jack).

20   Fire up a Square point-of-sale app and you’re ready to take payments anywhere.”).

21          49.        With this structure, the sensor reads the recorded information stored on the

22   integrated circuit, the controller converts the recorded information read by the sensor into a signal

23   that is indicative of the recorded information and suitably formatted for transmission to a mobile

24   communication device, and transmits the signal to the mobile communication device using the

25   communication link. The mobile communication device then transmits the card information/signal

26   to a Square transaction server using a Square Point of Sale application for processing a commercial

27   transaction.

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                                                                COMPLAINT FOR PATENT INFRINGEMENT
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 1                            SQUARE’S INSTRUCTIONS TO ITS USERS

 2          50.        In addition to directly infringing the Asserted Patents, Square has indirectly

 3   infringed the Asserted Patents by instructing, directing, and/or requiring others, including its

 4   customers, purchasers, and users, to practice the claims of the Asserted Patents.

 5   Square has provided materials both online and in the product packaging for its readers that instruct

 6   and encourage users to use the products in an infringing manner. For example, Square instructs to

 7   use the products to “accept credit cards on your iPhone, iPad, or Android.” See Ex. K. It instructs

 8   the user on how to use the readers with a cell phone or tablet – from establishing a connection

 9   between the two, swiping a magnetic stripe card, inserting a chip card into the reader, instructing

10   the charge, and waiting for validation.    See Ex. K. It further instructs the user to pair the reader

11   product with both (1) a mobile communication device such as a cell phone or tablet, and (2) the

12   Square Point of Sale app in order to make commercial transactions with a variety of payment

13   devices.                    See,          e.g.,            https://squareup.com/us/en/hardware/reader;

14   https://squareup.com/us/en/hardware/contactless-chip-reader;

15   https://play.google.com/store/apps/details?id=com.squareup&hl=en_US;

16   https://squareup.com/us/en/software/point-of-sale. Upon information and belief, Square has given

17   these instructions with knowledge of the Asserted Patents and that a user following its instructions

18   would infringe one or more of the Asserted Patents and intended to bring about their infringement.

19          51.        On information and belief, there is no substantial non-infringing use for the

20   Square Products. See e.g., Ex. L (“The Reader only works with the Square [Point of Sale]

21   application and a compatible mobile device” and “The Square Reader is cryptographically

22   authenticated to both the [Point of Sale] application and Square back-end servers.”).

23                                                 COUNT I

24                        DIRECT INFRINGEMENT OF THE ‘875 PATENT

25          52.        AnywhereCommerce restates and incorporates by reference the paragraphs

26   above as if fully stated herein.

27          53.        Square has directly infringed and continues to directly infringe, literally or under

28   the doctrine of equivalents, one or more claims of the ‘875 Patent in violation of 35 U.S.C. §271(a)
                                                                   COMPLAINT FOR PATENT INFRINGEMENT
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 1   by making, using, selling, and/or offering to sell within the United States, without authority, the

 2   Square Magstripe Reader and Square EMV Chip Card Reader, together with the Square Point of

 3   Sale application and servers, which acts have been without the permission, consent, authorization

 4   or license from AnywhereCommerce. Further, Square has directly infringed and continues to

 5   directly infringe one or more claims of the ‘875 Patent by importing into the United States, without

 6   authority, the Square Magstripe Reader and Square EMV Chip Card Reader.

 7          54.        Each of the Square Magstripe Reader and Square EMV Chip Card Reader, in

 8   connection with the Square Point of Sale application and Square servers, meets every limitation of

 9   one or more claims of the ‘875 patent and infringes the ‘875 Patent because each contains every

10   element and/or practices every step of one or more claims of the patent including, without

11   limitation, Claim 1, which is directed to “An apparatus for effecting commercial transactions

12   between an input device and a remote transaction server using a transaction card, said apparatus

13   comprising: an input device for capturing information from the transaction card; a controller for

14   converting the captured card information into a signal having an analog audio format suitable for

15   transmission to an analog hands-free jack of a mobile communication device; and a

16   communication link for coupling said input device to an analog hands-free jack of a mobile

17   communication device for the transmission of said analog-audio-format signals therebetween;

18   wherein when said input device captures the card information, said controller converts the card

19   information into said analog-audio-format signal and transmits said converted signal via said

20   communication link to said mobile communication device; and wherein said mobile

21   communication device automatically transmits the captured card information to the remote

22   transaction server and receives transaction validation information from said remote transaction

23   server.” Ex. A at 11:48-12:3.

24          55.        Specifically, taking a payment on either of these Square devices effects

25   “commercial transactions” between an “input device” and a remote transaction server with the use

26   of a transaction card such as a credit or debit card. As Square explains on its website, the Accused

27   Products allow “everyone to take payments on their smartphone or tablet” by providing for

28   communication with Square’s network and servers. https://squareup.com/us/en/hardware/reader;
                                                               COMPLAINT FOR PATENT INFRINGEMENT
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 1   https://squareup.com/help/us/en/article/3797-secure-data-encryption;

 2   https://squareup.com/us/en/security (discussing the transfer of data “[f]rom the time the customer

 3   uses a credit card or enters their information … until it reaches Square’s processing

 4   environment.”); see also Ex. L at 2 (referring to Square’s back-end servers).

 5          56.        To that end, the Square Magstripe Reader has an “input device for capturing

 6   information from the transaction card,” Ex. A at 11:51-52, as shown in the photos below:

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12   By swiping a credit card’s magnetic stripe through a slot provided on the Magstripe Reader, the

13   credit card contacts the internal “read head” assembly, which captures the card information from

14   the              magnetic                stripe.                             See,               e.g.,

15   https://www.magtek.com/content/documentationfiles/d99800004.pdf (ISO 7811 for Magnetic

16   Stripe Card Standards) (specifies the requirements for magnetic stripe encoding);

17   https://www.wired.com/2013/12/the-new-square-reader-a-look-at-how-gadget-guts-are-designed/

18   (regarding a re-designing of the Magstripe Reader, explaining that the “read head” is “the piece

19   that actually pulls the data off your credit card’s magnetic stripe”).

20          57.        The Square Magstripe Reader also has a custom chip, which is a controller that

21   controls the functions of the reader, including “converting the captured card information into a

22   signal having an analog audio format suitable for transmission to an analog hands-free jack of a

23   mobile communication device.” See Ex. A at 11:53-56. In other words, the Magstripe Reader’s

24   controller converts the information it obtains from the transaction card into an analog audio

25   formatted signal for transmission to the analog hands-free jack of a cell phone or tablet. See, e.g.,

26   https://www.wired.com/2013/12/the-new-square-reader-a-look-at-how-gadget-guts-are-designed/

27   (explaining that the Magstripe Reader’s chip, a/k/a controller, controls the “processes at the heart

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 1   of the product: Decoding the magnetic signal from the credit card, encoding the electrical signal

 2   being sent to the smartphone, and all the encryption that happens in between.”).

 3          58.         In addition, the Square Magstripe Reader has an

 4   output jack, which is designed to plug into a cell phone or tablet’s

 5   analog hands-free (i.e., headphone) jack and serves as a

 6   “communication link for coupling said input device to an analog

 7   hands-free jack of a mobile communication device for the

 8   transmission      of       said    analog-audio-format     signals      therebetween.”          See

 9   https://squareup.com/us/en/hardware/reader.

10          59.         When the Square Magstripe Reader is put to use, the device’s read head captures

11   the card information, and the controller converts the card information into an analog-audio-format

12   signal and transmits the converted signal through the communication link (between the reader’s

13   output jack and an audio jack on a mobile communications device such as a cell phone or tablet)

14   to the mobile communications device.

15          60.         After the mobile communication device receives the converted signal, the

16   mobile communication device acting on instructions from the Square Point of Sale application

17   automatically transmits the captured card information to a remote Square transaction server and

18   receives     transaction     validation   information    from    that    server.         See,   e.g.,

19   https://play.google.com/store/apps/details?id=com.squareup&hl=en_US.

20          61.         The Point of Sale application does this automatically for security purposes. For

21   example, the user does not need to know/provide the url address location for the transaction server.

22   This is part of meeting the Payment Card Industry Security Standard (PCI-DSS). Square provides

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 1   a summary of its encryption practices and other points of security on the Square website, including

 2   the following:

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13   https://squareup.com/help/us/en/article/3797-secure-data-encryption; see also

14   https://squareup.com/guides/pci-compliance.

15          62.        All of this is as claimed in Claim 1 of the ‘875 Patent.

16          63.        The EMV Chip Card Reader infringes at least for the reason that it includes all

17   of the same apparatus and functionality as the Magstripe Reader and meets all of the limitations of

18   Claim 1 in the same way as the Magstripe Reader. With the magnetic stripe reader portion of the

19   EMV Chip Card Reader device, a magnetic stripe transaction card is swiped through the reader’s

20   slot designed for a magnetic stripe card, the credit card contacts the internal “read head” assembly

21   to capture the card information from the magnetic stripe, the reader’s controller converts the

22   information it obtains from the transaction card into an analog audio formatted signal for

23   transmission to the analog hands-free jack of a cell phone or tablet, and its output jack, which is

24   designed to plug into the audio jack of a cell phone or tablet, provides a “communication link for

25   coupling said input device to an analog hands-free jack of a mobile communication device for the

26   transmission of said analog-audio-format signals therebetween.” The input device captures the

27   card information, the controller converts the card information into said analog-audio-format signal

28   and transmits the converted signal through the communication link to the mobile communication
                                                               COMPLAINT FOR PATENT INFRINGEMENT
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 1   device, and the mobile communication device – instructed and enabled by the Square Point of Sale

 2   application –    automatically transmits the captured card information to the Square remote

 3   transaction server and receives transaction validation information from the remote transaction

 4   server.” Ex. A at 11:48-12:3; see also Exs. K, L, M.

 5          64.        On information and belief, Square has practiced other independent and

 6   dependent claims of the ‘875 Patent in addition to Claim 1 and encouraged others to do so.

 7   AnywhereCommerce reserves the right to identify other infringing products and/or additional

 8   claims of the ‘875 Patent according to the local patent rules of this district.

 9          65.        Square’s infringement has caused and continues to cause AnywhereCommerce

10   to suffer damages in an amount to be determined, and has caused and continues to cause

11   AnywhereCommerce irreparable harm for which AnywhereCommerce has no adequate remedy at

12   law. Both AnywhereCommerce and Square compete in the space for mobile point-of-sale products

13   and services, as described above. Square’s continued infringement of the Asserted Patents causes

14   harm to AnywhereCommerce in the form of price erosion, loss of goodwill, damage to reputation,

15   loss of business opportunities, inadequacy of money damage, and direct and indirect competition.

16   Monetary damages are insufficient to compensate AnywhereCommerce for these harms.

17   Accordingly,     AnywhereCommerce           is   entitled    to    permanent      injunctive   relief.

18   AnywhereCommerce will continue to suffer irreparable harm unless and until the Court enjoins

19   Square from committing further infringing acts.

20          66.        Square’s infringement of the ‘875 Patent has injured and continues to injure

21   AnywhereCommerce in an amount to be proven at trial, but not less than a reasonable royalty.

22   AnywhereCommerce is entitled to recover from Square damages, including lost profits, in an

23   amount to be determined that is adequate to compensate AnywhereCommerce for Defendant’s

24   infringement.

25          67.        Upon information and belief, Square has infringed with full knowledge of the

26   Asserted Patents including the ‘875 Patent since at least 2013 and despite specific, written notice

27   in January of 2019 from AnywhereCommerce to Square of all Asserted Patents as well as specific

28   notice of Square’s infringement. Despite its knowledge of AnywhereCommerce’s patents and
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 1   specifically the Asserted Patents, Square has sold and continued to sell the Accused Products,

 2   imported the Accused Products, and performed services in complete and reckless disregard of

 3   AnywhereCommerce’s patent rights. As such, Square has acted recklessly and continues to

 4   willfully, wantonly, and deliberately engage in acts of infringement of the ‘875 Patent, justifying

 5   an award to AnywhereCommerce of increased damages under U.S.C. § 284, and attorneys’ fees

 6   and costs incurred under 35 U.S.C. § 285.

 7                                               COUNT II

 8            INDIRECT INFRINGEMENT OF THE ‘875 PATENT – INDUCEMENT

 9          68.        AnywhereCommerce restates and incorporates by reference the paragraphs

10   above as if fully stated herein.

11          69.        Square has induced and continues to induce infringement of one or more claims

12   of the ‘875 Patent under 35 U.S.C. § 271(b), including at least Claim 1. In addition to directly

13   infringing the ‘875 Patent, Square has indirectly infringed the patent pursuant to 35 U.S.C. § 271(b)

14   by instructing, directing and/or requiring others, including customers, purchasers, and users, to use

15   its products to form an infringing apparatus and use the apparatus in a manner that infringes the

16   ‘875 Patent either literally or under the doctrine of equivalents. In that regard, Square has known

17   or been willfully blind to the fact that it was inducing others, including customers, purchasers, and

18   users, to infringe by practicing, either themselves or in conjunction with Square, one or more

19   claims of the ‘875 Patent. Following Defendant’s instructions, customers, purchasers, and users

20   have actually infringed by practicing, either themselves or in conjunction with Defendant, one or

21   more claims of the ‘875 Patent.

22          70.        Square has knowingly and actively aided and abetted the direct infringement of

23   the ‘875 Patent by instructing and encouraging its customers, purchasers, and users to use the ‘875

24   Accused Products. Its instructions and encouragement have included, but are not limited to,

25   advising third parties to use the ‘875 Accused Products in an infringing manner, providing a

26   mechanism through which third parties may infringe the ‘875 Patent, advertising and promoting

27   the use of the ‘875 Accused Products in an infringing manner, and distributing guidelines and

28   instructions to third parties on how to use the ‘875 Accused Products in an infringing manner.
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 1                                              COUNT III

 2           INDIRECT INFRINGEMENT OF THE ‘875 PATENT – CONTRIBUTORY

 3                                           INFRINGEMENT

 4          71.        AnywhereCommerce restates and incorporates by reference the paragraphs

 5   above as if fully stated herein.

 6          72.        Square has contributed to infringement and continues to contribute to

 7   infringement of one or more claims of the ‘875 Patent under 35 U.S.C. § 271(c), including at least

 8   Claim 1. In addition to directly infringing the ‘875 Patent, Square has indirectly infringed the

 9   patent pursuant to 35 U.S.C. § 271(c) by supplying the Square Magstripe Reader and Square EMV

10   Chip Card Reader, as well as the Square Point of Sale application, all of which are used to directly

11   infringe the claims.

12          73.        Upon information and belief, there is no substantial non-infringing use for the

13   Square Magstripe Reader, Square EMV Chip Card Reader, or the Point of Sale application. They

14   are specifically designed to infringe the Asserted Patent claims, and Square has intended for them

15   to do so.

16          74.        Square has made, used, offered to sell, sold, and imported these devices with

17   knowledge of the ‘875 Patent.

18          75.        Square further has made, used, offered to sell, sold, and imported these devices

19   with knowledge that they have no substantial non-infringing use.

20                                               COUNT IV

21                          DIRECT INFRINGEMENT OF THE ‘998 PATENT

22          76.        AnywhereCommerce restates and incorporates by reference the paragraphs

23   above as if fully stated herein.

24          77.        Square has directly infringed and continues to directly infringe, literally or under

25   the doctrine of equivalents, one or more claims of the ‘998 Patent in violation of 35 U.S.C. §271(a)

26   by making, using, selling, and/or offering to sell within the United States, without authority, the

27   Square Magstripe Reader and Square EMV Chip Card Reader, together with the Square Point of

28   Sale application and servers, which acts have been without the permission, consent, authorization
                                                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   or license from AnywhereCommerce. Further, Square has directly infringed and continues to

 2   directly infringe one or more claims of the ‘998 Patent by importing into the United States, without

 3   authority, the Square Magstripe Reader and Square EMV Chip Card Reader.

 4          78.        Each of the Square Magstripe Reader and Square EMV Chip Card Reader, in

 5   connection with the Square Point of Sale application and Square servers, meets every limitation of

 6   one or more claims of the ’998 Patent and infringes the ‘998 Patent because each contains every

 7   element and/or practices every step of one or more claims of the patent including, without

 8   limitation, Claim 1.

 9          79.        Claim 1 of the ‘998 Patent is the same as Claim 1 of the ‘875 Patent, except for

10   the additional requirement that the analog audio signal generated by the controller be encrypted.

11   See Ex. B at 11:53-56 (“a controller for converting the captured card information into an encrypted

12   audio signal having an analog audio format suitable for transmission to an analog hands-free jack

13   of a mobile communication device”) (emphasis added).         As to the elements of this claim that

14   mirror those of the ‘875 Patent, then, the analysis of the Square Magstripe Reader and EMV Chip

15   Card Reader is the same as for Claim 1 of the ‘875 Patent, above.

16          80.        In addition, as to the requirement that the controller of these devices include

17   encryption capabilities and provide for transmitting an encrypted signal, that requirement is also

18   present. See, e.g., https://squareup.com/help/us/en/article/3797-secure-data-encryption (“Secure

19   Data Encryption”) (“Square Point of Sale uses the Square Reader to encrypt all card-present

20   transactions at the point of swipe, so information remains encrypted throughout transmission from

21   the reader, to the application, to Square’s data centers. All communications are secure whether

22   connected to the Internet via wireless or cellular data network (EDGE, 3G or 4G).”) Square’s

23   Vice President of Hardware, Jesse Dorogusker, has explained that this encryption is controlled by

24   the reader’s chip, which is the device’s controller and controls “the processes at the heart of the

25   product: Decoding the magnetic signal from the credit card, encoding the electrical signal being

26   sent to the smartphone, and all the encryption that happens in between.”                 See, e.g.,

27   https://www.wired.com/2013/12/the-new-square-reader-a-look-at-how-gadget-guts-are-

28   designed/.
                                                               COMPLAINT FOR PATENT INFRINGEMENT
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 1          81.        On information and belief, Square has practiced other independent and

 2   dependent claims of the ‘998 Patent in addition to Claim 1 and encouraged others to do so.

 3   AnywhereCommerce reserves the right to identify other infringing products and/or additional

 4   claims of the ‘998 Patent according to the local patent rules of this district.

 5          82.        Square’s infringement has caused and continues to cause AnywhereCommerce

 6   to suffer damages in an amount to be determined, and has caused and continues to cause

 7   AnywhereCommerce irreparable harm for which AnywhereCommerce has no adequate remedy at

 8   law. Both AnywhereCommerce and Square compete in the space for mobile point of sale products

 9   and services, as described above.       Further, on information and belief, Square’s continued

10   infringement of the Asserted Patents causes harm to AnywhereCommerce in the form of price

11   erosion, loss of goodwill, damage to reputation, loss of business opportunities, and direct and

12   indirect competition. Monetary damages are insufficient to compensate AnywhereCommerce for

13   these harms.    Accordingly, AnywhereCommerce is entitled to permanent injunctive relief.

14   AnywhereCommerce will continue to suffer irreparable harm unless and until the Court enjoins

15   Square from committing further infringing acts.

16          83.        Square’s infringement of the ‘998 Patent has injured and continues to injure

17   AnywhereCommerce in an amount to be proven at trial, but not less than a reasonable royalty.

18   AnywhereCommerce is entitled to recover from Square damages, including lost profits, in an

19   amount to be determined that is adequate to compensate AnywhereCommerce for Defendant’s

20   infringement.

21          84.        Upon information and belief, Square has infringed with full knowledge of the

22   Asserted Patents including the ‘998 Patent since at least 2013 and despite specific, written notice

23   in January of 2019 from AnywhereCommerce to Square of all Asserted Patents as well as specific

24   notice of Square’s infringement. Despite its knowledge of AnywhereCommerce’s patents and

25   specifically the Asserted Patents, Square has sold and continued to sell the Accused Products,

26   imported the Accused Products, and performed services in complete and reckless disregard of

27   AnywhereCommerce’s patent rights. As such, Square has acted recklessly and continues to

28   willfully, wantonly, and deliberately engage in acts of infringement of the ‘998 Patent, justifying
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 1   an award to AnywhereCommerce of increased damages under U.S.C. § 284, and attorneys’ fees

 2   and costs incurred under 35 U.S.C. § 285.

 3                                               COUNT V

 4            INDIRECT INFRINGEMENT OF THE ‘998 PATENT – INDUCEMENT

 5          85.        AnywhereCommerce restates and incorporates by reference the paragraphs

 6   above as if fully stated herein.

 7          86.        Square has induced and continues to induce infringement of one or more claims

 8   of the ‘998 Patent under 35 U.S.C. § 271(b), including at least Claim 1. In addition to directly

 9   infringing the ‘998 Patent, Square has indirectly infringed the patent pursuant to 35 U.S.C. § 271(b)

10   by instructing, directing and/or requiring others, including customers, purchasers, and users, to use

11   its products to form an infringing apparatus and use the apparatus in a manner that infringes the

12   ‘998 Patent either literally or under the doctrine of equivalents. In that regard, Square has known

13   or been willfully blind to the fact that it was inducing others, including customers, purchasers, and

14   users, to infringe by practicing, either themselves or in conjunction with Square, one or more

15   apparatus claims of the ‘998 Patent. Following Defendant’s instructions, customers, purchasers,

16   and users have actually infringed by practicing, either themselves or in conjunction with

17   Defendant, one or more claims of the ‘998 Patent.

18          87.        Square knowingly and actively aided and abetted the direct infringement of the

19   ‘998 Patent by instructing and encouraging its customers, purchasers, and users to use the ‘998

20   Accused Products. Its instructions and encouragement have included, but are not limited to,

21   advising third parties to use the ‘998 Accused Products in an infringing manner, providing a

22   mechanism through which third parties may infringe the ‘998 Patent, advertising and promoting

23   the use of the ‘998 Accused Products in an infringing manner, and distributing guidelines and

24   instructions to third parties on how to use the ‘998 Accused Products in an infringing manner.

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                                                               COMPLAINT FOR PATENT INFRINGEMENT
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 1                                               COUNT VI

 2           INDIRECT INFRINGEMENT OF THE ‘998 PATENT – CONTRIBUTORY

 3                                           INFRINGEMENT

 4          88.        AnywhereCommerce restates and incorporates by reference the paragraphs

 5   above as if fully stated herein.

 6          89.        Square has contributed to infringement and continues to contribute to

 7   infringement of one or more claims of the ‘998 Patent under 35 U.S.C. § 271(c), including at least

 8   Claim 1. As with the ‘875 Patent, in addition to directly infringing the ‘998 Patent, Square

 9   indirectly infringes the ‘998 Patent pursuant to 35 U.S.C. § 271(c) by supplying the Square

10   Magstripe Reader and Square EMV Chip Card Reader, as well as the Square Point of Sale

11   application, all of which are used to directly infringe the claims.

12          90.        Upon information and belief, there is no substantial non-infringing use for the

13   Square Magstripe Reader, Square EMV Chip Card Reader, or the Point of Sale application. They

14   are specifically designed to infringe the Asserted Patent claims, and Square intends for them to do

15   so.

16          91.        Square has made, used, offered to sell, sold, and imported these devices with

17   knowledge of the ‘998 Patent.

18          92.        Square further has made, used, offered to sell, sold, and imported these devices

19   with knowledge that they have no substantial non-infringing use.

20                                               COUNT VII

21                        DIRECT INFRINGEMENT OF THE ‘566 PATENT

22          93.        AnywhereCommerce restates and incorporates by reference the paragraphs

23   above as if fully stated herein.

24          94.        Square has directly infringed and continues to directly infringe, literally or under

25   the doctrine of equivalents, one or more claims of the ‘566 Patent, in violation of 35 U.S.C. §271(a)

26   by making, using, selling, and/or offering to sell within the United States, without authority, the

27   Square EMV Chip Card Reader, together with the Square Point of Sale application and servers,

28   which acts have been without the permission, consent, authorization or license from
                                                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   AnywhereCommerce. Further, Square has directly infringed and continues to directly infringe,

 2   literally or under the doctrine of equivalents, one or more claims of the ‘566 Patent by importing

 3   into the United States, without authority, the Square EMV Chip Card Reader.

 4          95.        Square and its EMV Chip Card Reader, operating with the Square Point of Sale

 5   application and Square servers, meets every limitation of one or more claims of the ‘566 Patent

 6   and infringes the ‘566 Patent because it contains every element and/or practices every step of one

 7   or more claims of the patent including, without limitation, Claim 3.

 8          96.        Claim 3 of the ‘566 Patent is a method claim specific to smart card readers. As

 9   such, it claims a “method for reading a smart card having recorded information stored on an

10   integrated circuit incorporated into the card, the method comprising the steps of: providing a

11   portable card reader device comprising a sensor for reading the recorded information stored on the

12   integrated circuit, and an output jack adapted to be inserted into a jack associated with a mobile

13   communication device; wherein said portable card reader device produces an analog signal

14   indicative of the recorded information stored on said integrated circuit; said analog signal suitable

15   for transmission to said jack of said mobile communication device; providing said analog signal

16   indicative of the recorded information stored on the integrated circuit to said mobile

17   communication device for further processing by circuitry contained in said mobile communication

18   device; and transmitting said signal to a transaction server for further processing.” Ex. C at 12:21-

19   41.

20          97.        Square and others at its direction have performed the claimed method by

21   providing the Square EMV Chip Card Reader for use, together with the Square Point of Sale

22   application and servers, in reading a smart card having recorded information stored on an

23   integrated circuit incorporated into the card, such as a type of credit card or debit card generally

24   known as a “chip” card.

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                                                               COMPLAINT FOR PATENT INFRINGEMENT
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 1             98.     Square and others at its direction have provided the Square EMV Chip Card

 2   Reader, which is a portable card reader device for a smart card and includes both (1) a sensor for

 3   reading the recorded information stored on the integrated circuit, and (2) an output jack adapted to

 4   be inserted into a jack associated with a mobile communication device, such as a cell phone or

 5   tablet.

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               99.     The Square EMV Chip Card Reader produces an analog signal (indicative of the
12
     recorded information stored on said integrated circuit) that is suitable for transmission to the jack
13
     of the mobile communication device and provides the analog signal to the mobile
14
     communication device for further processing by circuitry contained in the mobile
15
     communication device. The operations of the reader with a mobile communication device show
16
     that an analog signal is generated and formatted for transmission to the mobile communication
17
     device, at least through the fact that the signal is received through the mobile communication
18
     device’s analog jack. See Exs. K, L, M.
19
               100.    The EMV Chip Card Reader provides the analog signal to the mobile
20
     communication device for further processing by circuitry contained in the mobile
21
     communication device.       After the signal reaches the mobile communication device, upon
22
     information and belief, instructions and software from the Square Point of Sale application
23
     working on the circuitry of the mobile communication device cause the circuitry to perform
24
     additional processing on the signal. See, e.g., Ex. L (explaining that the Square readers “only
25
     work[] with the Square [Point of Sale] application and a compatible mobile device.”).
26
     With the use of its Point of Sale application, Square then transmits the signal to a transaction
27
     server for further processing. See, e.g., https://squareup.com/help/us/en/article/3797-secure-data-
28
                                                               COMPLAINT FOR PATENT INFRINGEMENT
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 1   encryption (“To protect Square account holders and their customers, all information entered by

 2   our customers has been encrypted and submitted to our servers securely” and “Square Point of

 3   Sale uses the Square Reader to encrypt all card-present transactions at the point of swipe, so

 4   information remains encrypted throughout transmission from the reader, to the application, to

 5   Square’s data centers.”) This step completes the infringement of Claim 3.

 6          101.       On information and belief, Square has practiced other independent and

 7   dependent claims of the ‘566 Patent in addition to Claim 3 and encouraged others to do so.

 8   AnywhereCommerce reserves the right to identify other infringing products and/or additional

 9   claims of the ‘566 Patent according to the local patent rules of this district.

10          102.       Square’s infringement has caused and continues to cause AnywhereCommerce

11   to suffer damages in an amount to be determined, and has caused and continues to cause

12   AnywhereCommerce irreparable harm for which AnywhereCommerce has no adequate remedy at

13   law. Both AnywhereCommerce and Square compete in the space for mobile point-of-sale products

14   and services, as described above. Square’s continued infringement of the Asserted Patents causes

15   harm to AnywhereCommerce in the form of price erosion, loss of goodwill, damage to reputation,

16   loss of business opportunities, inadequacy of money damage, and direct and indirect competition.

17   Monetary damages are insufficient to compensate AnywhereCommerce for these harms.

18   Accordingly,     AnywhereCommerce           is   entitled    to    permanent      injunctive   relief.

19   AnywhereCommerce will continue to suffer irreparable harm unless and until the Court enjoins

20   Square from committing further infringing acts.

21          103.       Square’s infringement of the ‘566 Patent has injured and continues to injure

22   AnywhereCommerce in an amount to be proven at trial, but not less than a reasonable royalty.

23   AnywhereCommerce is entitled to recover from Square damages, including lost profits, in an

24   amount to be determined that is adequate to compensate AnywhereCommerce for Defendant’s

25   infringement.

26          104.       Upon information and belief, Square has infringed with full knowledge of the

27   Asserted Patents including the ‘566 Patent since at least shortly after its issuance in 2015 and

28   despite specific, written notice in January of 2019 from AnywhereCommerce to Square of all
                                                                 COMPLAINT FOR PATENT INFRINGEMENT
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 1   Asserted Patents as well as specific notice of Square’s infringement. Despite its knowledge of

 2   AnywhereCommerce’s patents and specifically the Asserted Patents, Square has sold and

 3   continued to sell the Accused Products, imported the Accused Products, and performed services

 4   in complete and reckless disregard of AnywhereCommerce’s patent rights. As such, Square has

 5   acted recklessly and continues to willfully, wantonly, and deliberately engage in acts of

 6   infringement of the ‘566 Patent, justifying an award to AnywhereCommerce of increased damages

 7   under U.S.C. § 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

 8                                              COUNT VIII

 9            INDIRECT INFRINGEMENT OF THE ‘566 PATENT -- INDUCEMENT

10          105.       AnywhereCommerce restates and incorporates by reference the paragraphs

11   above as if fully stated herein.

12          106.       Square has induced and continues to induce infringement of one or more claims

13   of the ‘566 Patent under 35 U.S.C. § 271(b), including at least Claim 3. In addition to directly

14   infringing the ‘566 Patent, Square has indirectly infringed the patent pursuant to 35 U.S.C. § 271(b)

15   by instructing, directing and/or requiring others, including customers, purchasers, and users, to use

16   its products to form an infringing apparatus and use the apparatus in a manner that infringes the

17   ‘566 Patent either literally or under the doctrine of equivalents such as by performing steps of the

18   method claims where all of the steps of the method claims are performed by either Square or its

19   customers, purchasers, and users, or some combination thereof. See, e.g., Exs. K, L, M. In that

20   regard, Square has known or been willfully blind to the fact that it was inducing others, including

21   customers, purchasers, and users, to infringe by practicing, either themselves or in conjunction

22   with Square, one or more claims of the ‘566 Patent.           Following Defendant’s instructions,

23   customers, purchasers, and users have actually infringed by practicing, either themselves or in

24   conjunction with Defendant, one or more claims of the ‘566 Patent.

25          107.       Square has knowingly and actively aided and abetted the direct infringement of

26   the ‘566 Patent by instructing and encouraging its customers, purchasers, and users to use the ‘566

27   Accused Products. Its instructions and encouragement have included, but are not limited to,

28   advising third parties to use the ‘566 Accused Products in an infringing manner, providing a
                                                               COMPLAINT FOR PATENT INFRINGEMENT
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 1   mechanism through which third parties may infringe the ‘566 Patent, advertising and promoting

 2   the use of the ‘566 Accused Products in an infringing manner, and distributing guidelines and

 3   instructions to third parties on how to use the ‘566 Accused Products in an infringing manner.

 4                                               COUNT IX

 5           INDIRECT INFRINGEMENT OF THE ‘566 PATENT – CONTRIBUTORY

 6                                           INFRINGEMENT

 7          108.       AnywhereCommerce restates and incorporates by reference the paragraphs

 8   above as if fully stated herein.

 9          109.       Square has contributed to infringement and continues to contribute to

10   infringement of one or more claims of the ‘566 Patent under 35 U.S.C. § 271(c), including at least

11   Claim 3. In addition to directly infringing the ‘566 Patent, Square has indirectly infringed the

12   patent pursuant to 35 U.S.C. § 271(c) by supplying the Square EMV Chip Card Reader, as well as

13   the Square Point of Sale application, both of which are used to directly infringe the claims.

14          110.       Upon information and belief, there is no substantial non-infringing use for the

15   Square EMV Chip Card Reader or the Point of Sale application. They are specifically designed to

16   infringe the Asserted Patent claims, and Square intends for them to do so.

17          111.       Square has made, used, offered to sell, sold, and imported these devices with

18   knowledge of the ‘566 Patent.

19          112.       Square further has made, used, offered to sell, sold, and imported these devices

20   with knowledge that they have no substantial non-infringing use.

21                                               COUNT X

22                        DIRECT INFRINGEMENT OF THE ‘084 PATENT

23          113.       AnywhereCommerce restates and incorporates by reference the paragraphs

24   above as if fully stated herein.

25          114.       Square has directly infringed and continues to directly infringe, literally or under

26   the doctrine of equivalents, one or more claims of the ‘084 Patent, in violation of 35 U.S.C. §271(a)

27   by making, using, selling, and/or offering to sell within the United States, without authority, the

28   Square EMV Chip Card Reader, together with the Square Point of Sale application and servers,
                                                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   which acts have been without the permission, consent, authorization or license from

 2   AnywhereCommerce. Further, Square has directly infringed and continues to directly infringe,

 3   literally or under the doctrine of equivalents, one or more claims of the ‘084 Patent by importing

 4   into the United States, without authority, the Square EMV Chip Card Reader.

 5          115.       The Square EMV Chip Card Reader, operating with the Square Point of Sale

 6   application and Square servers, meets every limitation of one or more claims of the patent and

 7   infringes the ‘084 Patent because it contains every element and/or practices every step of one or

 8   more claims of the patent including without limitation Claim 5, which is directed to a method “for

 9   reading a smart card, the method comprising the steps of: providing a portable card reader device

10   comprising a sensor for reading information stored on the integrated circuit of a smart card, and

11   an output jack adapted to be inserted into a hands-free jack associated with a mobile

12   communication device; wherein said portable card reader device produces an encrypted

13   analog signal indicative of the information stored on said integrated circuit; said encrypted

14   analog signal suitable for transmission to said hands-free jack of said mobile communication

15   device; providing said encrypted analog signal indicative of the information stored on the

16   integrated circuit to said mobile communication device for further processing by circuitry

17   contained in said mobile communication device; and transmitting said encrypted analog signal to

18   a transaction server for further processing.” Ex. D at 12:23-43.

19          116.       Square and others at its direction have performed the claimed method by

20   providing the Square EMV Chip Card Reader, together with the Square Point of Sale application

21   and servers, for use in reading a smart card, such as a type of credit card or debit card generally

22   known as a “chip” card.

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                                                              COMPLAINT FOR PATENT INFRINGEMENT
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 1             117.    Square and others at its direction have performed the steps of a method for

 2   reading a smart card by providing the Square EMV Chip Card Reader, which – as discussed above

 3   – is a portable card reader device including both (1) a sensor for reading the recorded information

 4   stored on the integrated circuit of the smart card, and (2) an output jack adapted to be inserted into

 5   a hands-free headset jack associated with a mobile communication device, such as a cell phone or

 6   tablet.

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               118.    The Square EMV Chip Card Reader produces an encrypted analog signal
13
     (indicative of the recorded information stored on said integrated circuit) that is suitable for
14
     transmission to the hands-free headset jack of the mobile communication device and provides the
15
     encrypted analog signal to the mobile communication device for further processing by circuitry
16
     contained in the mobile communication device. The operations of the reader with a mobile
17
     communication device show that an analog signal is generated and formatted for transmission
18
     to the mobile communication device, at least through the fact that the signal is received through
19
     the mobile communication device’s analog jack. Moreover, Square documents advise that the
20
     signal is encrypted.        See, e.g., https://squareup.com/help/us/en/article/3797-secure-data-
21
     encryption (“Secure Data Encryption”) (“Square Point of Sale uses the Square Reader to encrypt
22
     all card-present transactions at the point of swipe, so information remains encrypted throughout
23
     transmission from the reader, to the application, to Square’s data centers. All communications are
24
     secure whether connected to the Internet via wireless or cellular data network (EDGE, 3G or
25
     4G).”).
26
               119.    The Square EMV Chip Card Reader provides the encrypted analog signal to
27
     the mobile communication device for further processing by circuitry contained in the mobile
28
                                                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   communication device. After the signal reaches the mobile communication device, upon

 2   information and belief, instructions and software from the Square Point of Sale app working on

 3   the circuitry of the mobile communication device cause the circuitry to perform additional

 4   processing on the signal. See, e.g., Ex. L (explaining that the Square readers “only work[] with

 5   the Square [Point of Sale] application and a compatible mobile device.”).

 6          120.       With the use of its Point of Sale application, Square then transmits the

 7   encrypted analog signal to a transaction server for further processing. This step completes the

 8   infringement of Claim 5.

 9          121.       On information and belief, Square has practiced independent and dependent

10   claims of the ‘084 Patent in addition to Claim 5 and encouraged others to do so.

11   AnywhereCommerce reserves the right to identify other infringing products and/or additional

12   claims of the ‘084 Patent according to the local patent rules of this district.

13          122.       Square’s infringement has caused and continues to cause AnywhereCommerce

14   to suffer damages in an amount to be determined, and has caused and continues to cause

15   AnywhereCommerce irreparable harm for which AnywhereCommerce has no adequate remedy at

16   law. Both AnywhereCommerce and Square compete in the space for mobile point-of-sale products

17   and services, as described above. Square’s continued infringement of the Asserted Patents causes

18   harm to AnywhereCommerce in the form of price erosion, loss of goodwill, damage to reputation,

19   loss of business opportunities, inadequacy of money damage, and direct and indirect competition.

20   Monetary damages are insufficient to compensate AnywhereCommerce for these harms.

21   Accordingly,     AnywhereCommerce           is   entitled    to    permanent      injunctive   relief.

22   AnywhereCommerce will continue to suffer irreparable harm unless and until the Court enjoins

23   Square from committing further infringing acts.

24          123.       Square’s infringement of the ‘084 Patent has injured and continues to injure

25   AnywhereCommerce in an amount to be proven at trial, but not less than a reasonable royalty.

26   AnywhereCommerce is entitled to recover from Square damages, including lost profits, in an

27   amount to be determined that is adequate to compensate AnywhereCommerce for Defendant’s

28   infringement.
                                                                 COMPLAINT FOR PATENT INFRINGEMENT
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 1          124.       Upon information and belief, Square has infringed with full knowledge of the

 2   Asserted Patents including the ‘084 Patent since at least shortly after its issuance in 2016 and

 3   despite specific, written notice in January of 2019 from AnywhereCommerce to Square of all

 4   Asserted Patents as well as specific notice of Square’s infringement. Despite its knowledge of

 5   AnywhereCommerce’s patents and specifically the Asserted Patents, Square has sold and

 6   continued to sell the Accused Products, imported the Accused Products, and performed services

 7   in complete and reckless disregard of AnywhereCommerce’s patent rights. As such, Square has

 8   acted recklessly and continues to willfully, wantonly, and deliberately engage in acts of

 9   infringement of the ‘084 Patent, justifying an award to AnywhereCommerce of increased damages

10   under U.S.C. § 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

11                                               COUNT XI

12            INDIRECT INFRINGEMENT OF THE ‘084 PATENT -- INDUCEMENT

13          125.       AnywhereCommerce restates and incorporates by reference the paragraphs

14   above as if fully stated herein.

15          126.       Square has induced and continues to induce infringement of one or more claims

16   of the ‘084 Patent under 35 U.S.C. § 271(b), including at least Claim 5. In addition to directly

17   infringing the ‘084 Patent, Square has indirectly infringed the patent pursuant to 35 U.S.C. § 271(b)

18   by instructing, directing and/or requiring others, including customers, purchasers, and users, to use

19   its products to form an infringing apparatus and use the apparatus in a manner that infringes the

20   ‘084 Patent either literally or under the doctrine of equivalents such as by performing steps of the

21   method claims where all of the steps of the method claims are performed by either Square or its

22   customers, purchasers, and users, or some combination thereof. In that regard, Square has known

23   or been willfully blind to the fact that it was inducing others, including customers, purchasers, and

24   users, to infringe by practicing, either themselves or in conjunction with Square, one or more

25   apparatus claims of the ‘084 Patent. Following Defendant’s instructions, customers, purchasers,

26   and users have actually infringed by practicing, either themselves or in conjunction with

27   Defendant, one or more claims of the ‘084 Patent.

28
                                                               COMPLAINT FOR PATENT INFRINGEMENT
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 1          127.       Square has knowingly and actively aided and abetted the direct infringement of

 2   the ‘084 Patent by instructing and encouraging its customers, purchasers, and users to use the ‘084

 3   Accused Products. Its instructions and encouragement have included, but are not limited to,

 4   advising third parties to use the ‘084 Accused Products in an infringing manner, providing a

 5   mechanism through which third parties may infringe the ‘084 Patent, advertising and promoting

 6   the use of the ‘084 Accused Products in an infringing manner, and distributing guidelines and

 7   instructions to third parties on how to use the ‘084 Accused Products in an infringing manner.

 8                                              COUNT XII

 9           INDIRECT INFRINGEMENT OF THE ‘084 PATENT – CONTRIBUTORY

10                                          INFRINGEMENT

11          128.       AnywhereCommerce restates and incorporates by reference the paragraphs

12   above as if fully stated herein.

13          129.       Square has contributed to infringement and continues to contribute to

14   infringement of one or more claims of the ‘084 Patent under 35 U.S.C. § 271(c), including at least

15   Claim 5. In addition to directly infringing the ‘084 Patent, Square has indirectly infringed the

16   patent pursuant to 35 U.S.C. § 271(c) by supplying the Square EMV Chip Card Reader, as well as

17   the Square Point of Sale application, both of which are used to directly infringe the claims.

18          130.       Upon information and belief, there is no substantial non-infringing use for the

19   Square EMV Chip Card Reader or the Point of Sale application. They are specifically designed to

20   infringe the Asserted Patent claims, and Square intends for them to do so.

21          131.       Square has made, used, offered to sell, sold, and imported these devices with

22   knowledge of the ‘084 Patent.

23          132.       Square further has made, used, offered to sell, sold, and imported these devices

24   with knowledge that they have no substantial non-infringing use.

25                                             COUNT XIII

26                        DIRECT INFRINGEMENT OF THE ‘637 PATENT

27          133.       AnywhereCommerce restates and incorporates by reference the paragraphs

28   above as if fully stated herein.
                                                               COMPLAINT FOR PATENT INFRINGEMENT
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 1          134.       Square has directly infringed and continues to directly infringe, literally or under

 2   the doctrine of equivalents, one or more claims of the ‘637 Patent, in violation of 35 U.S.C. §271(a)

 3   by making, using, selling, and/or offering to sell within the United States, without authority, the

 4   Square EMV Chip Card Reader, together with the Square Point of Sale application and servers,

 5   which acts have been without the permission, consent, authorization or license from

 6   AnywhereCommerce. Further, Square has directly infringed and continues to directly infringe,

 7   literally or under the doctrine of equivalents, one or more claims of the ‘637 Patent by importing

 8   into the United States, without authority, the Square EMV Chip Card Reader.

 9          135.       The Square EMV Chip Card Reader, operating with the Square Point of Sale

10   application and Square servers, meets every limitation of one or more claims of the ‘637 Patent

11   and infringes the ‘637 Patent because it contains every element and/or practices every step of one

12   or more claims of the patent including, without limitation, Claim 3, which claims “a method for

13   reading a smart card having recorded information stored on an integrated circuit incorporated into

14   the card, the method comprising the steps of: providing a portable card reader device comprising

15   a sensor for reading the recorded information stored on the integrated circuit, and an output jack

16   adapted to be inserted into a jack associated with a mobile communication device; wherein said

17   portable card reader device produces an encrypted analog signal indicative of the recorded

18   information stored on said integrated circuit; said encrypted analog signal suitable for transmission

19   to said jack of said mobile communication device; providing said encrypted analog signal

20   indicative of the recorded information stored on the integrated circuit to said mobile

21   communication device for further processing by circuitry contained in said mobile communication

22   device; and transmitting said signal to a transaction server for further processing.” Ex. E at 12:25-

23   44.

24          136.       Square and others at its direction have performed the claimed method by

25   providing the Square EMV Chip Card Reader, together with the Square Point of Sale application

26   and servers, for use in reading a smart card having recorded information stored on an integrated

27   circuit incorporated into the card, such as a type of credit card or debit card generally known as a

28   “chip” card.
                                                                COMPLAINT FOR PATENT INFRINGEMENT
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 1             137.     Square and others at its direction have provided the Square EMV Chip Card

 2   Reader, which is a portable card reader device for reading a smart card and includes both (1) a

 3   sensor for reading the recorded information stored on the integrated circuit, and (2) an output jack

 4   adapted to be inserted into a jack associated with a mobile communication device, such as a cell

 5   phone or tablet.

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               138.     The Square EMV Chip Card Reader produces an encrypted analog signal
10
     (indicative of the recorded information stored on said integrated circuit) that is suitable for
11
     transmission to the jack of the mobile communication device. The operations and Square
12
     documents show that an encrypted analog signal is produced in a format that is suitable for
13
     transmission to a jack of a mobile communication device such as a cell phone or tablet, and is
14
     transmitted to the jack of the mobile communication device. This is shown, for example, at least
15
     through the fact that the signal is received through the mobile communication device’s analog jack,
16
     and Square documents advise that             the analog signal is encrypted.            See,   e.g.,
17
     https://squareup.com/help/us/en/article/3797-secure-data-encryption (“To protect Square account
18
     holders and their customers, all information entered by our customers has been encrypted and
19
     submitted to our servers securely” and “Square Point of Sale uses the Square Reader to encrypt all
20
     card-present transactions at the point of swipe, so information remains encrypted throughout
21
     transmission from the reader, to the application, to Square’s data centers. All communications are
22
     secure whether connected to the Internet via wireless or cellular data network (EDGE, 3G or
23
     4G).”).
24
               139.     The EMV Chip Card Reader provides the encrypted analog signal to the
25
     mobile communication device for further processing by circuitry contained in the mobile
26
     communication device. After the signal reaches the mobile communication device, upon
27
     information and belief, instructions and software from the Square Point of Sale app working on
28
                                                               COMPLAINT FOR PATENT INFRINGEMENT
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 1   the circuitry of the mobile communication device perform additional processing on the signal. See,

 2   e.g., Ex. L (explaining that the Square readers “only work[] with the Square [Point of Sale]

 3   application and a compatible mobile device.”).

 4          140.        With the use of its Point of Sale app, Square then transmits the signal to a

 5   transaction server for additional further processing. This completes the infringement of Claim

 6   3.

 7          141.       On information and belief, Square practices other independent and dependent

 8   claims of the ‘637 Patent in addition to Claim 3, and has encouraged others to do so.

 9   AnywhereCommerce reserves the right to identify other infringing products and/or additional

10   claims of the ‘637 Patent according to the local patent rules of this district.

11          142.       Square’s infringement has caused and continues to cause AnywhereCommerce

12   to suffer damages in an amount to be determined, and has caused and continues to cause

13   AnywhereCommerce irreparable harm for which AnywhereCommerce has no adequate remedy at

14   law. Both AnywhereCommerce and Square compete in the space for mobile point-of-sale products

15   and services, as described above. Square’s continued infringement of the Asserted Patents causes

16   harm to AnywhereCommerce in the form of price erosion, loss of goodwill, damage to reputation,

17   loss of business opportunities, inadequacy of money damage, and direct and indirect competition.

18   Monetary damages are insufficient to compensate AnywhereCommerce for these harms.

19   Accordingly,     AnywhereCommerce           is   entitled    to    permanent      injunctive   relief.

20   AnywhereCommerce will continue to suffer irreparable harm unless and until the Court enjoins

21   Square from committing further infringing acts.

22          143.       Square’s infringement of the ‘637 Patent has injured and continues to injure

23   AnywhereCommerce in an amount to be proven at trial, but not less than a reasonable royalty.

24   AnywhereCommerce is entitled to recover from Square damages, including lost profits, in an

25   amount to be determined that is adequate to compensate AnywhereCommerce for Defendant’s

26   infringement.

27          144.       Upon information and belief, Square has infringed with full knowledge of the

28   Asserted Patents including the ‘637 Patent since at least shortly after its issuance in 2016 and
                                                                 COMPLAINT FOR PATENT INFRINGEMENT
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 1   despite specific, written notice in January of 2019 from AnywhereCommerce to Square of all

 2   Asserted Patents as well as specific notice of Square’s infringement. Despite its knowledge of

 3   AnywhereCommerce’s patents and specifically the Asserted Patents, Square has sold and

 4   continued to sell the Accused Products, imported the Accused Products, and performed services

 5   in complete and reckless disregard of AnywhereCommerce’s patent rights. As such, Square has

 6   acted recklessly and continues to willfully, wantonly, and deliberately engage in acts of

 7   infringement of the ‘637 Patent, justifying an award to AnywhereCommerce of increased damages

 8   under U.S.C. § 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

 9                                              COUNT XIV

10            INDIRECT INFRINGEMENT OF THE ‘637 PATENT – INDUCEMENT

11          145.       AnywhereCommerce restates and incorporates by reference the paragraphs

12   above as if fully stated herein.

13          146.       Square has induced and continues to induce infringement of one or more claims

14   of the ‘637 Patent under 35 U.S.C. § 271(b), including at least Claim 3. In addition to directly

15   infringing the ‘637 Patent, Square has indirectly infringed the patent pursuant to 35 U.S.C. § 271(b)

16   by instructing, directing and/or requiring others, including customers, purchasers, and users, to use

17   its products to form an infringing apparatus and use the apparatus in a manner that infringes at

18   least Claim 1 of the ‘637 Patent either literally or under the doctrine of equivalents such as by

19   performing steps of the method claims where all of the steps of the method claims are performed

20   by either Square or its customers, purchasers, and users, or some combination thereof. In that

21   regard, Square has known or been willfully blind to the fact that it was inducing others, including

22   customers, purchasers, and users, to infringe by practicing, either themselves or in conjunction

23   with Square, one or more apparatus claims of the ‘637 Patent. Following Defendant’s instructions,

24   customers, purchasers, and users have actually infringed by practicing, either themselves or in

25   conjunction with Defendant, one or more claims of the ‘637 Patent.

26          147.       Square has knowingly and actively aided and abetted the direct infringement of

27   the ‘637 Patent by instructing and encouraging its customers, purchasers, and users to use the ‘637

28   Accused Products. Its instructions and encouragement have included, but are not limited to,
                                                               COMPLAINT FOR PATENT INFRINGEMENT
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 1   advising third parties to use the ‘637 Accused Products in an infringing manner, providing a

 2   mechanism through which third parties may infringe the ‘637 Patent, advertising and promoting

 3   the use of the ‘637 Accused Products in an infringing manner, and distributing guidelines and

 4   instructions to third parties on how to use the ‘637 Accused Products in an infringing manner.

 5                                              COUNT XV

 6           INDIRECT INFRINGEMENT OF THE ‘637 PATENT – CONTRIBUTORY

 7                                           INFRINGEMENT

 8          148.       AnywhereCommerce restates and incorporates by reference the paragraphs

 9   above as if fully stated herein.

10          149.       Square has contributed to infringement and continues to contribute to

11   infringement of one or more claims of the ‘637 Patent under 35 U.S.C. § 271(c), including at least

12   Claim 3. In addition to directly infringing the ‘637 Patent, Square has indirectly infringed the

13   patent pursuant to 35 U.S.C. § 271(c) by supplying the Square EMV Chip Card Reader, as well as

14   the Square Point of Sale application, both of which are used to directly infringe the claims.

15          150.       Upon information and belief, there is no substantial non-infringing use for the

16   Square EMV Chip Card Reader or the Point of Sale application. They are specifically designed to

17   infringe the Asserted Patent claims, and Square intends for them to do so.

18          151.       Square has made, used, offered to sell, sold, and imported these devices with

19   knowledge of the ‘637 Patent.

20          152.       Square further has made, used, offered to sell, sold, and imported these devices

21   with knowledge that they have no substantial non-infringing use.

22                                              COUNT XVI

23                        DIRECT INFRINGEMENT OF THE ‘239 PATENT

24          153.       AnywhereCommerce restates and incorporates by reference the paragraphs

25   above as if fully stated herein.

26          154.       Square has directly infringed and continues to directly infringe, literally or under

27   the doctrine of equivalents, one or more claims of the ‘239 Patent, in violation of 35 U.S.C. §271(a)

28   by making, using, selling, and/or offering to sell within the United States, without authority, the
                                                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   Square EMV Chip Card Reader and Square Contactless and Chip Reader, together with the Square

 2   Point of Sale application and servers, which acts have been without the permission, consent,

 3   authorization or license from AnywhereCommerce. Further, Square has directly infringed and

 4   continues to directly infringe, literally or under the doctrine of equivalents, one or more claims of

 5   the ‘239 Patent by importing into the United States, without authority, the Square EMV Chip Card

 6   Reader and Square Contactless and Chip Reader.

 7          155.       Each of the Square EMV Chip Card Reader and Square Contactless and Chip

 8   Reader meets every limitation of one or more claims of the ‘239 Patent and infringes the ‘239

 9   Patent because each contains every element and/or practices every step of one or more claims of

10   the patent including, without limitation, Claim 1, which claims a “portable smart card reader device

11   for reading a smart card having recorded information stored on an integrated circuit incorporated

12   into the card, the device comprising: a sensor for reading said recorded information stored on said

13   integrated circuit incorporated into said card; a controller coupled to said sensor for converting

14   the recorded information stored on said integrated circuit into an encrypted signal indicative of

15   the recorded information, and a communication link for coupling said portable smart card reader

16   device to a mobile communication device for the transmission of said encrypted signal indicative

17   of the recorded information therebetween; wherein when said sensor reads the recorded

18   information stored on said integrated circuit, said controller converts the recorded information

19   read by said sensor into said encrypted signal and transmits said encrypted signal via said

20   communication link to said mobile communication device; and said mobile communication

21   device transmits the encrypted signal indicative of the recorded information to a remote

22   transaction server for processing a commercial transaction. Ex. F at 12:6-29.

23          156.       The Square EMV Chip Card Reader contains the elements of this Claim 1 of the

24   ‘239 Patent. As explained above, it is specifically designed as a portable smart card reader device

25   for reading a smart card. It incorporates the sensor for reading the information stored on the card’s

26   embedded integrated circuit, which is the card’s “chip.”

27

28
                                                                COMPLAINT FOR PATENT INFRINGEMENT
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 1          157.       The Square EMV Chip Card Reader also includes a controller coupled to the

 2   sensor for converting the recorded information stored on the card’s chip into an encrypted signal

 3   indicative of the recorded information. The sensor coupled to the controller is shown below.

 4          158.       Square documents are clear that the signal is encrypted immediately upon being

 5   read. See, e.g., https://squareup.com/help/us/en/article/3797-secure-data-encryption (“To protect

 6   Square account holders and their customers, all information entered by our customers has been

 7   encrypted and submitted to our servers securely” and “Square Point of Sale uses the Square Reader

 8   to encrypt all card-present transactions at the point of swipe, so information remains encrypted

 9   throughout transmission from the reader, to the application, to Square’s data centers.”). In

10   operation, the controller “converts the recorded information read by said sensor into said

11   encrypted signal and transmits said encrypted signal via said communication link to said mobile

12   communication device.” Ex. F at 12:20-25.

13          159.       As discussed above, the output jack on the Square EMV Chip Card Reader is

14   designed to be inserted into the jack of the mobile communication device to form a communication

15   link between the two devices for the transmission of the encrypted signal between them. Thus, the

16   sensor reads the recorded information from the card’s integrated circuit (“chip”), and the controller

17   converts the recorded information into an encrypted signal and sends the encrypted signal, via the

18   communication link of the hands-free jack, to the mobile communication device.

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25          160.       Operating on instructions from the Square Point of Sale app which must be used

26   for the transaction, the mobile communication device then transmits the encrypted signal

27   (indicative of the recorded information) to a remote transaction server for processing a commercial

28   transaction.   See, e.g., https://squareup.com/help/us/en/article/3797-secure-data-encryption (“To
                                                               COMPLAINT FOR PATENT INFRINGEMENT
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 1   protect Square account holders and their customers, all information entered by our customers has

 2   been encrypted and submitted to our servers securely” and “Square Point of Sale uses the Square

 3   Reader to encrypt all card-present transactions at the point of swipe, so information remains

 4   encrypted throughout transmission from the reader, to the application, to Square’s data centers.”).

 5          161.       Square’s Contactless and Chip Reader – a wireless Bluetooth device – also meets

 6   all of the elements of this Claim 1 of the ‘239 Patent, but with a different design.

 7          162.       Like the EMV Chip Card Reader, the Square Contactless and Chip Reader is

 8   designed as a reader for a smart card with an embedded integrated circuit chip.                See

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     https://squareup.com/us/en/hardware/contactless-chip-reader (“Square Reader lets you accept chip
17
     cards …”).
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25   The contactless reader connects wirelessly to a mobile communication device such as a cell phone

26   or tablet, reads the information embedded on the chip, converts and encrypts the information into

27   an encrypted signal that reflects that information, and transmits the information to the mobile

28   communication device. See, e.g., https://squareup.com/us/en/hardware/contactless-chip-reader
                                                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   (“Connect the reader wirelessly to your Apple or Android device via Bluetooth LE (no need for a

 2   headset jack). Fire up a Square point-of-sale app and you’re ready to take payments anywhere.”).

 3   The communication device then transmits the encrypted signal via software from the Square Point

 4   of Sale app to Square’s transaction servers, which are located at remote, secured facilities.

 5          163.       As to its specific design, a photo of the Contactless and Chip Reader’s internal

 6   layout is shown below:

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     As shown in the photo, the device includes a sensor for reading information that is recorded on the
15
     card’s integrated circuit chip.
16
            164.       Coupled to the sensor on the printed circuit board is a controller for converting
17
     the recorded information stored on the integrated circuit into an encrypted signal (indicative of the
18
     recorded information).       See, e.g., https://squareup.com/help/us/en/article/3797-secure-data-
19
     encryption (“Secure Data Encryption”) (“Square Point of Sale uses the Square Reader to encrypt
20
     all card-present transactions at the point of swipe, so information remains encrypted throughout
21
     transmission from the reader, to the application, to Square’s data centers. All communications are
22
     secure whether connected to the Internet via wireless or cellular data network (EDGE, 3G or 4G).”)
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                                                               COMPLAINT FOR PATENT INFRINGEMENT
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 1          165.       The Contactless and Chip Reader also includes a communication IC for

 2   Bluetooth Connection, which is shown in the following photo:

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            166.       The communication IC provides a communication link to the communication
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     device for the transmission of the encrypted signal using with Bluetooth technology.           See
12
     https://squareup.com/us/en/hardware/contactless-chip-reader (“Connect the reader wirelessly to
13
     your Apple or Android device via Bluetooth LE (no need for a headset jack). Fire up a Square
14
     point-of-sale app and you’re ready to take payments anywhere.”).
15
            167.       With this structure, the sensor reads the recorded information stored on the
16
     integrated circuit, the controller converts the recorded information read by the sensor into an
17
     encrypted signal and transmits the encrypted signal to the mobile communication device using the
18
     communication link. Under instruction from the Square Point of Sale application, the mobile
19
     communication device then transmits the encrypted signal (indicative of the recorded information)
20
     to a remote transaction server using the Point of Sale app for processing a commercial transaction.
21
     See, e.g., https://squareup.com/help/us/en/article/3797-secure-data-encryption (“To protect
22
     Square account holders and their customers, all information entered by our customers has been
23
     encrypted and submitted to our servers securely” and “Square Point of Sale uses the Square Reader
24
     to encrypt all card-present transactions at the point of swipe, so information remains encrypted
25
     throughout transmission from the reader, to the application, to Square’s data centers.”).
26
            168.       On information and belief, Square has practiced other independent and
27
     dependent claims of the ‘239 Patent in addition to Claim 1, and encouraged others to do so.
28
                                                               COMPLAINT FOR PATENT INFRINGEMENT
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 1   AnywhereCommerce reserves the right to identify other infringing products and/or additional

 2   claims of the ‘239 Patent according to the local patent rules of this district.

 3          169.       Square’s infringement has caused and continues to cause AnywhereCommerce

 4   to suffer damages in an amount to be determined, and has caused and continues to cause

 5   AnywhereCommerce irreparable harm for which AnywhereCommerce has no adequate remedy at

 6   law. Both AnywhereCommerce and Square compete in the space for mobile point-of-sale products

 7   and services, as described above. Square’s continued infringement of the Asserted Patents causes

 8   harm to AnywhereCommerce in the form of price erosion, loss of goodwill, damage to reputation,

 9   loss of business opportunities, inadequacy of money damage, and direct and indirect competition.

10   Monetary damages are insufficient to compensate AnywhereCommerce for these harms.

11   Accordingly,     AnywhereCommerce           is   entitled    to    permanent      injunctive   relief.

12   AnywhereCommerce will continue to suffer irreparable harm unless and until the Court enjoins

13   Square from committing further infringing acts.

14          170.       Square’s infringement of the ‘239 Patent has injured and continues to injure

15   AnywhereCommerce in an amount to be proven at trial, but not less than a reasonable royalty.

16   AnywhereCommerce is entitled to recover from Square damages, including lost profits, in an

17   amount to be determined that is adequate to compensate AnywhereCommerce for Defendant’s

18   infringement.

19          171.       Upon information and belief, Square has infringed with full knowledge of the

20   Asserted Patents including the ‘239 Patent since shortly after it issued in 2016 and despite specific,

21   written notice in January of 2019 from AnywhereCommerce to Square of all Asserted Patents as

22   well as specific notice of Square’s infringement. Despite its knowledge of AnywhereCommerce’s

23   patents and specifically the Asserted Patents, Square has sold and continued to sell the Accused

24   Products, imported the Accused Products, and performed services in complete and reckless

25   disregard of AnywhereCommerce’s patent rights. As such, Square has acted recklessly and

26   continues to willfully, wantonly, and deliberately engage in acts of infringement of the ‘239 Patent,

27   justifying an award to AnywhereCommerce of increased damages under U.S.C. § 284, and

28   attorneys’ fees and costs incurred under 35 U.S.C. § 285.
                                                                 COMPLAINT FOR PATENT INFRINGEMENT
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 1                                              COUNT XVII

 2            INDIRECT INFRINGEMENT OF THE ‘239 PATENT – INDUCEMENT

 3          172.       AnywhereCommerce restates and incorporates by reference the paragraphs

 4   above as if fully stated herein.

 5          173.       Square has induced and continues to induce infringement of one or more claims

 6   of the ‘239 Patent under 35 U.S.C. § 271(b), including at least Claim 1. In addition to directly

 7   infringing the ‘239 Patent, Square indirectly infringes the patent pursuant to 35 U.S.C. § 271(b)

 8   by instructing, directing and/or requiring others, including customers, purchasers, and users, to use

 9   its products to form an infringing apparatus and use the apparatus in a manner that infringes the

10   ‘239 Patent. In that regard, Square has known or been willfully blind to the fact that it was inducing

11   others, including customers, purchasers, and users, to infringe by practicing, either themselves or

12   in conjunction with Square, one or more apparatus claims of the ‘239 Patent.               Following

13   Defendant’s instructions, customers, purchasers, and users have actually infringed by practicing,

14   either themselves or in conjunction with Defendant, one or more claims of the ‘239 Patent.

15          174.       Square has knowingly and actively aided and abetted the direct infringement of

16   the ‘239 Patent by instructing and encouraging its customers, purchasers, and users to use the ‘239

17   Accused Products. Its instructions and encouragement have included, but are not limited to,

18   advising third parties to use the ‘239 Accused Products in an infringing manner, providing a

19   mechanism through which third parties may infringe the ‘239 Patent, advertising and promoting

20   the use of the ‘239 Accused Products in an infringing manner, and distributing guidelines and

21   instructions to third parties on how to use the ‘239 Accused Products in an infringing manner.

22                                             COUNT XVIII

23           INDIRECT INFRINGEMENT OF THE ‘239 PATENT – CONTRIBUTORY

24                                           INFRINGEMENT

25          175.       AnywhereCommerce restates and incorporates by reference the paragraphs

26   above as if fully stated herein.

27          176.       Square has contributed to infringement and continues to contribute to

28   infringement of one or more claims of the ‘239 Patent under 35 U.S.C. § 271(c), including at least
                                                                COMPLAINT FOR PATENT INFRINGEMENT
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 1   Claim 1. In addition to directly infringing the ‘239 Patent, Square has indirectly infringed the

 2   patent pursuant to 35 U.S.C. § 271(c) by supplying the Square EMV Chip Card Reader, Square

 3   Contactless and Chip Reader, and Square Point of Sale application, all of which are used to directly

 4   infringe the claims.

 5          177.       Upon information and belief, there is no substantial non-infringing use for the

 6   Square EMV Chip Card Reader, Square Contactless and Chip Reader, or the Point of Sale

 7   application. They are specifically designed to infringe the Asserted Patent claims, and Square

 8   intends for them to do so.

 9          178.       Square has made, used, offered to sell, sold, and imported these devices with

10   knowledge of the ‘239 Patent.

11          179.       Square further has made, used, offered to sell, sold, and imported these devices

12   with knowledge that they have no substantial non-infringing use.

13                                              COUNT XIX

14                          DIRECT INFRINGEMENT OF THE ‘351 PATENT

15          180.       AnywhereCommerce restates and incorporates by reference the paragraphs

16   above as if fully stated herein.

17          181.       Square has directly infringed and continues to directly infringe, literally or under

18   the doctrine of equivalents, one or more claims of the ‘351 Patent, in violation of 35 U.S.C. §271(a)

19   by making, using, selling, and/or offering to sell within the United States, without authority, the

20   Square EMV Chip Card Reader and Square Contactless and Chip Reader, together with the Square

21   Point of Sale application and servers, which acts have been without the permission, consent,

22   authorization or license from AnywhereCommerce. Further, Square has directly infringed and

23   continues to directly infringe, literally or under the doctrine of equivalents, one or more claims of

24   the ‘351 Patent by importing into the United States, without authority, the Square EMV Chip Card

25   Reader and Square Contactless and Chip Reader.

26          182.       Each of the Square EMV Chip Card Reader and Square Contactless and Chip

27   Reader meets every limitation of one or more claims of the ‘351 Patent and infringes the ‘351

28
                                                                COMPLAINT FOR PATENT INFRINGEMENT
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                                                                              JURY TRIAL DEMANDED
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 1   Patent because each contains every element and/or practices every step of one or more claims of

 2   the patent including, without limitation, Claim 1.

 3          183.       Claim 1 of the ‘351 Patent claims “[a] portable reader apparatus for reading a

 4   payment device having information stored on an integrated circuit incorporated into said payment

 5   device; the apparatus comprising: a sensor for reading information stored on said integrated circuit

 6   incorporated into said payment device; a controller coupled to the sensor for converting said

 7   information to a format suitable for transmission to a mobile communication device; and a

 8   communication link for coupling the portable reader apparatus to said mobile communication

 9   device for the transmission of said information there between; wherein the sensor reads said

10   information, the controller converts said information into a format suitable for transmission to said

11   mobile communication device and transmits said information via the communication link to said

12   mobile communication device, and said communication device transmits said information to a

13   remote transaction server for processing a commercial transaction.” Ex. G at 12:7-26. As with

14   Claim 1 of the ‘239 Patent, both the Square EMV Chip Card Reader and the Square Contactless

15   and Chip Reader meet the limitations of Claim 1 of the ‘351 Patent.

16          184.       The Square EMV Chip Card Reader contains every element of this Claim 1 of

17   the ‘351 Patent. As explained above, it is specifically designed as a portable reader apparatus for

18   reading a payment device such as a credit card or debit card with information stored on an

19   integrated circuit chip embedded into the card.          It incorporates the sensor for reading the

20   information stored on the chip, and a controller coupled to the sensor for converting the

21   information to a format appropriate for transmission to a mobile communication device.

22          185.       The output jack on the EMV Chip Card Reader, which is designed to be inserted

23   into the jack of the mobile communication device, creates a communication link for coupling the

24   two devices together for the transmission of the information between them.                       See

25   https://squareup.com/shop/hardware/us/en/products/chi-credit-card-reader (“Square chip card

26   reader plugs into the headphone jack of your smartphone or tablet.”).

27          186.       The sensor reads the information from the chip on the card, the controller

28   converts the information into the proper format for transmission to the mobile communication
                                                                 COMPLAINT FOR PATENT INFRINGEMENT
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 1   device and transmits the information to the mobile communication device via the communication

 2   link, and the mobile communication device transmits the information to a remote transaction server

 3   for processing of the commercial transaction.

 4          187.       Square’s Contactless and Chip Reader also meets all of the elements of Claim 1

 5   of the ‘351 Patent. The Square Contactless and Chip Reader is a portable reader apparatus for

 6   reading a payment device such as a credit card or debit card with information stored on an

 7   integrated       circuit       chip       embedded          on        the         card.       See

 8   https://squareup.com/us/en/hardware/contactless-chip-reader (“Square Reader lets you accept chip

 9   cards, Apple Pay, and Google Pay anywhere. Connect wirelessly, accept payments quickly, and

10   get your funds fast.”).

11          188.       It incorporates a sensor for reading the information

12   stored on the chip, and a controller coupled to the sensor for converting

13   that information to a format appropriate for transmission to a mobile

14   communication device such as a cell phone or tablet.

15          189.       The contactless reader is coupled to a mobile communication device (such as a

16   cell phone or tablet) through a wireless Bluetooth connection for transmission of information

17   between the two devices. The reader includes a communication IC to form and control this link.

18          190.       The sensor reads the information embedded on the card’s chip, and the controller

19   converts the information into the proper format for transmission to the mobile communication

20   device and transmits the information through the wireless link to the communication device. The

21   mobile communication device transmits the information to Square’s transaction servers for

22   processing of the commercial transaction. This meets the limitations of the claim.

23          191.       On information and belief, Square has practiced other independent and

24   dependent claims of the ‘351 Patent in addition to Claim 1, and encouraged others to do so.

25   AnywhereCommerce reserves the right to identify other infringing products and/or additional

26   claims of the ‘351 Patent according to the local patent rules of this district.

27          192.       Square’s infringement has caused and continues to cause AnywhereCommerce

28   to suffer damages in an amount to be determined, and has caused and continues to cause
                                                                 COMPLAINT FOR PATENT INFRINGEMENT
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 1   AnywhereCommerce irreparable harm for which AnywhereCommerce has no adequate remedy at

 2   law. Both AnywhereCommerce and Square compete in the space for mobile point-of-sale products

 3   and services, as described above. Square’s continued infringement of the Asserted Patents causes

 4   harm to AnywhereCommerce in the form of price erosion, loss of goodwill, damage to reputation,

 5   loss of business opportunities, inadequacy of money damage, and direct and indirect competition.

 6   Monetary damages are insufficient to compensate AnywhereCommerce for these harms.

 7   Accordingly,     AnywhereCommerce        is   entitled    to   permanent     injunctive   relief.

 8   AnywhereCommerce will continue to suffer irreparable harm unless and until the Court enjoins

 9   Square from committing further infringing acts.

10          193.       Square’s infringement of the ‘351 Patent has injured and continues to injure

11   AnywhereCommerce in an amount to be proven at trial, but not less than a reasonable royalty.

12   AnywhereCommerce is entitled to recover from Square damages, including lost profits, in an

13   amount to be determined that is adequate to compensate AnywhereCommerce for Defendant’s

14   infringement.

15          194.       Upon information and belief Square has infringed with full knowledge of the

16   Asserted Patents including the ‘351 Patent since at least shortly after its issuance in 2017 and

17   despite specific, written notice in January of 2019 from AnywhereCommerce to Square of all

18   Asserted Patents as well as specific notice of Square’s infringement. Despite its knowledge of

19   AnywhereCommerce’s patents and specifically the Asserted Patents, Square has sold and

20   continued to sell the Accused Products, imported the Accused Products, and performed services

21   in complete and reckless disregard of AnywhereCommerce’s patent rights. As such, Square has

22   acted recklessly and continues to willfully, wantonly, and deliberately engage in acts of

23   infringement of the ‘351 Patent, justifying an award to AnywhereCommerce of increased damages

24   under U.S.C. § 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

25                                            COUNT XX

26            INDIRECT INFRINGEMENT OF THE ‘351 PATENT – INDUCEMENT

27          195.       AnywhereCommerce restates and incorporates by reference the paragraphs

28   above as if fully stated herein.
                                                              COMPLAINT FOR PATENT INFRINGEMENT
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 1          196.       Square has induced and continues to induce infringement of one or more claims

 2   of the ‘351 Patent under 35 U.S.C. § 271(b), including at least Claim 1. In addition to directly

 3   infringing the ‘351 Patent, Square has indirectly infringed the patent pursuant to 35 U.S.C. § 271(b)

 4   by instructing, directing and/or requiring others, including customers, purchasers, and users, to use

 5   its products to form an infringing apparatus and use the apparatus in a manner that infringes the

 6   ‘351 Patent. In that regard, Square has known or been willfully blind to the fact that it was inducing

 7   others, including customers, purchasers, and users, to infringe by practicing, either themselves or

 8   in conjunction with Square, one or more apparatus claims of the ‘351 Patent.               Following

 9   Defendant’s instructions, customers, purchasers, and users have actually infringed by practicing,

10   either themselves or in conjunction with Defendant, one or more claims of the ‘351 Patent.

11          197.       Square has knowingly and actively aided and abetted the direct infringement of

12   the ‘351 Patent by instructing and encouraging its customers, purchasers, and users to use the ‘351

13   Accused Products. Its instructions and encouragement have included, but are not limited to,

14   advising third parties to use the ‘351 Accused Products in an infringing manner, providing a

15   mechanism through which third parties may infringe the ‘351 Patent, advertising and promoting

16   the use of the ‘351 Accused Products in an infringing manner, and distributing guidelines and

17   instructions to third parties on how to use the ‘351 Accused Products in an infringing manner.

18                                              COUNT XXI

19           INDIRECT INFRINGEMENT OF THE ‘351 PATENT – CONTRIBUTORY

20                                           INFRINGEMENT

21          198.       AnywhereCommerce restates and incorporates by reference the paragraphs

22   above as if fully stated herein.

23          199.       Square has contributed to infringement and continues to contribute to

24   infringement of one or more claims of the ‘351 Patent under 35 U.S.C. § 271(c), including at least

25   Claim 1. In addition to directly infringing the ‘351 Patent, Square has indirectly infringed the

26   patent pursuant to 35 U.S.C. § 271(c) by supplying the Square EMV Chip Card Reader, Square

27   Contactless and Chip Reader, and Square Point of Sale application, all of which are used to directly

28   infringe the claims.
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 1          200.       Upon information and belief, there is no substantial non-infringing use for the

 2   Square EMV Chip Card Reader, Square Contactless and Chip Reader, or the Point of Sale

 3   application. They are specifically designed to infringe the Asserted Patent claims, and Square

 4   intends for them to do so.

 5          201.       Square has made, used, offered to sell, sold, and imported these devices with

 6   knowledge of the ‘351 Patent.

 7          202.       Square further has made, used, offered to sell, sold, and imported these devices

 8   with knowledge that they have no substantial non-infringing use.

 9                                             COUNT XXII

10                        DIRECT INFRINGEMENT OF THE ‘107 PATENT

11          203.       AnywhereCommerce restates and incorporates by reference the paragraphs

12   above as if fully stated herein.

13          204.       Square has directly infringed and continues to directly infringe, literally or under

14   the doctrine of equivalents, one or more claims of the ‘107 Patent, in violation of 35 U.S.C. §271(a)

15   by making, using, selling, and/or offering to sell within the United States, without authority, the

16   Square Magstripe Reader, the Square EMV Chip Card Reader, together with the Square Point of

17   Sale application and servers, and the Square Contactless and Chip Card Reader, which acts have

18   been without the permission, consent, authorization or license from AnywhereCommerce. Further,

19   Square has directly infringed and continues to directly infringe, literally or under the doctrine of

20   equivalents, one or more claims of the ‘107 Patent by importing into the United States, without

21   authority, the Square Magstripe Reader, the Square EMV Chip Card Reader, and the Square

22   Contactless and Chip Card Reader.

23          205.       Each of the Square Magstripe Reader, Square EMV Chip Card Reader, and

24   Square Contactless and Chip Reader meets every limitation of one or more claims of the ‘107

25   Patent and infringes the ‘107 Patent because each contains every element and/or practices every

26   step of one or more claims of the patent including, without limitation, Claim 1.

27          206.       Claim 1 of the ‘107 Patent is directed to “an apparatus for effecting commercial

28   transactions between an input device and a remote transaction server using a communication
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 1   device, said apparatus comprising: an input device for capturing recorded information from a

 2   transaction card; a sensor incorporated into said input device for reading said recorded information

 3   stored on said transaction card, said sensor including circuitry for reading an analog signal; a

 4   controller coupled to said sensor for converting the recorded information stored on said transaction

 5   card into a format suitable for transmission to a communication device; and a communication link

 6   for coupling said controller to a communication device for the transmission of said recorded

 7   information therebetween; wherein the said sensor reads the recorded information stored on said

 8   transaction card, said controller converts said recorded information read by said sensor into a

 9   format suitable for transmission to said communication device and transmits said recorded

10   information via the communication link to said communication device, and said communication

11   device transmits said recorded information to a remote transaction server for processing a

12   commercial transaction.” Ex. H at 12:10-34.

13          207.       The Square Magstripe Readers (with an output jack and/or Lightning

14   Connector), Square EMV Chip and Card Reader, and the Square Contactless and Chip Reader

15   each have all of the elements of this claim. Each is designed to work with a communication device

16   such as a cell phone or tablet to effect a commercial transaction between the reader and a remote

17   transaction server. With each, there is an input device for capturing recorded information from a

18   transaction card (such as a credit card or debit card) and a sensor incorporated into the input device

19   for reading the recorded information stored on the card.

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 1          208.        The sensor in each Square reader includes circuitry for reading an analog signal

 2   and a controller coupled to the sensor for converting the recorded information stored on the card

 3   into a proper format for transmission to a communication device.

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            209.        Moreover, each device provides a communication link – whether through a
12
     hands-free jack, an Apple Lightning Connector, or a wireless/Bluetooth connection – for coupling
13
     the controller to the communication device for the transmission of the recorded information
14
     between the two.
15
            210.        The sensor in each reader reads the recorded information from the transaction
16
     card, the controller converts it into a format for transmission to the communication device and
17
     transmits the information via the communication link to the communication device.              The
18
     communication device transmits the recorded information to a remote transaction server for
19
     processing a commercial transaction.
20
            211.        On information and belief, Square has practiced other independent and
21
     dependent claims of the ‘107 Patent in addition to Claim 1, and encouraged others to do so.
22
     AnywhereCommerce reserves the right to identify other infringing products and/or additional
23
     claims of the ‘107 Patent according to the local patent rules of this district.
24
            212.        Square’s infringement has caused and continues to cause AnywhereCommerce
25
     to suffer damages in an amount to be determined, and has caused and continues to cause
26
     AnywhereCommerce irreparable harm for which AnywhereCommerce has no adequate remedy at
27
     law. Both AnywhereCommerce and Square compete in the space for mobile point-of-sale products
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 1   and services, as described above. Square’s continued infringement of the Asserted Patents causes

 2   harm to AnywhereCommerce in the form of price erosion, loss of goodwill, damage to reputation,

 3   loss of business opportunities, inadequacy of money damage, and direct and indirect competition.

 4   Monetary damages are insufficient to compensate AnywhereCommerce for these harms.

 5   Accordingly,     AnywhereCommerce        is   entitled    to   permanent     injunctive   relief.

 6   AnywhereCommerce will continue to suffer irreparable harm unless and until the Court enjoins

 7   Square from committing further infringing acts.

 8          213.       Square’s infringement of the ‘107 Patent has injured and continues to injure

 9   AnywhereCommerce in an amount to be proven at trial, but not less than a reasonable royalty.

10   AnywhereCommerce is entitled to recover from Square damages, including lost profits, in an

11   amount to be determined that is adequate to compensate AnywhereCommerce for Defendant’s

12   infringement.

13          214.       Upon information and belief, Square has infringed with full knowledge of the

14   Asserted Patents including the ‘107 Patent since at least shortly after its issuance in 2017 and

15   despite specific, written notice in January of 2019 from AnywhereCommerce to Square of all

16   Asserted Patents as well as specific notice of Square’s infringement. Despite its knowledge of

17   AnywhereCommerce’s patents and specifically the Asserted Patents, Square has sold and

18   continued to sell the Accused Products, imported the Accused Products, and performed services

19   in complete and reckless disregard of AnywhereCommerce’s patent rights. As such, Square has

20   acted recklessly and continues to willfully, wantonly, and deliberately engage in acts of

21   infringement of the ‘107 Patent, justifying an award to AnywhereCommerce of increased damages

22   under U.S.C. § 284, and attorneys’ fees and costs incurred under 35 U.S.C. § 285.

23                                           COUNT XXIII

24            INDIRECT INFRINGEMENT OF THE ‘107 PATENT – INDUCEMENT

25          215.       AnywhereCommerce restates and incorporates by reference the paragraphs

26   above as if fully stated herein.

27          216.       Square has induced and continues to induce infringement of one or more claims

28   of the ‘107 Patent under 35 U.S.C. § 271(b), including at least Claim 1. In addition to directly
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 1   infringing the ‘107 Patent, Square has indirectly infringed the patent pursuant to 35 U.S.C. § 271(b)

 2   by instructing, directing and/or requiring others, including customers, purchasers, and users, to use

 3   its products to form an infringing apparatus and use the apparatus in a manner that infringes the

 4   ‘107 Patent. In that regard, Square has known or been willfully blind to the fact that it was inducing

 5   others, including customers, purchasers, and users, to infringe by practicing, either themselves or

 6   in conjunction with Square, one or more apparatus claims of the ‘107 Patent.               Following

 7   Defendant’s instructions, customers, purchasers, and users have actually infringed by practicing,

 8   either themselves or in conjunction with Defendant, one or more claims of the ‘107 Patent.

 9          217.       Square has knowingly and actively aided and abetted the direct infringement of

10   the ‘107 Patent by instructing and encouraging its customers, purchasers, and users to use the ‘107

11   Accused Products. Its instructions and encouragement have included, but are not limited to,

12   advising third parties to use the ‘107 Accused Products in an infringing manner, providing a

13   mechanism through which third parties may infringe the ‘107 Patent, advertising and promoting

14   the use of the ‘107 Accused Products in an infringing manner, and distributing guidelines and

15   instructions to third parties on how to use the ‘107 Accused Products in an infringing manner.

16                                             COUNT XXIV

17           INDIRECT INFRINGEMENT OF THE ‘107 PATENT – CONTRIBUTORY

18                                           INFRINGEMENT

19          218.       AnywhereCommerce restates and incorporates by reference the paragraphs

20   above as if fully stated herein.

21          219.       Square has contributed to infringement and continues to contribute to

22   infringement of one or more claims of the ‘107 Patent under 35 U.S.C. § 271(c), including at least

23   Claim 1. In addition to directly infringing the ‘107 Patent, Square has indirectly infringed the

24   patent pursuant to 35 U.S.C. § 271(c) by supplying the Square Magstripe Reader, Square EMV

25   Chip Card Reader, Square Contactless and Chip Reader, and Square Point of Sale application, all

26   of which are used to directly infringe the claims.

27          220.       Upon information and belief, there is no substantial non-infringing use for the

28   Square Magstripe Reader, Square EMV Chip Card Reader, Square Contactless and Chip Reader,
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 1   or the Point of Sale application. They are specifically designed to infringe the Asserted Patent

 2   claims, and Square intends for them to do so.

 3          221.       Square has made, used, offered to sell, sold, and imported these devices with

 4   knowledge of the ‘107 Patent.

 5          222.       Square further has made, used, offered to sell, sold, and imported these devices

 6   with knowledge that they have no substantial non-infringing use.

 7                                       PRAYER FOR RELIEF

 8          WHEREFORE, AnywhereCommerce, Inc. respectfully requests that this Court enter

 9   judgment in its favor against Square as follows:

10          A.      To enter judgment that Square has directly infringed one or more claims of each of

11   the Asserted Patents, has induced infringement of the Asserted Patents, and has contributed to the

12   infringement of the Asserted Patents.

13          B.      To enter orders permanently enjoining Square and its officers, agents, directors,

14   servants, employees, attorneys, representatives, parents, subsidiaries, affiliates, joint venturers,

15   and all of those in active concert, privity or participation with them and their successors and

16   assigns, from infringing the Asserted Patents, and/or inducing or contributing to infringement, and

17   for all further and proper injunctive relief pursuant to 35 U.S.C. § 283.

18          C.      To award AnywhereCommerce its damages in an amount adequate to compensate

19   AnywhereCommerce for Defendant’s direct and indirect infringement of the Asserted Patents,

20   together with costs and pre-judgment and post-judgment interest.

21          D.      To award an accounting of all Defendant’s infringing sales and revenues through

22   final judgment.

23          E.      To enter judgment that Square’s infringement has been willful, wanton, and

24   deliberate and that the damages against it be increased up to treble on this basis or for any other

25   basis in accordance with the law.

26          F.      To declare this case to be “exceptional” under 35 U.S.C. § 285 and to award

27   AnywhereCommerce its attorneys’ fees, expenses, and costs incurred in this action; and

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 1          G.      To award AnywhereCommerce such other and further relief as this Court deems

 2   just and proper.

 3                                     DEMAND FOR JURY TRIAL

 4          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, AnywhereCommerce

 5   requests a trial by jury of any and all issues on which a trial by jury is available.

 6

 7    Dated: July 26, 2019                         Respectfully Submitted,
 8
                                                   JOSEPH SAVERI LAW FIRM, INC.
 9
                                                   By:            /s/ Joseph R. Saveri
10                                                                 Joseph R. Saveri
11                                                 Joseph R. Saveri (State Bar No. 130064)
12                                                 Steven N. Williams (State Bar No. 175489)
                                                   Jiamin Chen (pro hac vice to be submitted)
13                                                 JOSEPH SAVERI LAW FIRM, INC.
                                                   601 California Street, Suite 1000
14                                                 San Francisco, California 94108
                                                   Telephone: (415) 500-6800
15
                                                   Facsimile: (415) 395-9940
16                                                 jsaveri@saverilawfirm.com
                                                   swilliams@saverilawfirm.com
17                                                 jchen@saverilawfirm.com

18                                                 Niall A. MacLeod (pro hac vice to be submitted)
                                                   Diane L. Peterson (pro hac vice to be submitted)
19
                                                   Aaron A. Myers (pro hac vice to be submitted)
20                                                 KUTAK ROCK LLP
                                                   60 S. Sixth Street
21                                                 Suite 3400
                                                   Minneapolis, MN 55402
22                                                 Telephone: (612) 334-5000
                                                   Facsimile: (612) 334-5050
23
                                                   Niall.macleod@kutakrock.com
24                                                 Diane.peterson@kutakrock.com
                                                   Aaron.myers@kutakrock.com
25

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 1                               Oliver D. Griffin (pro hac vice to be submitted)
                                 Melissa A. Bozeman (pro hac vice to be submitted)
 2                               KUTAK ROCK LLP
 3                               1760 Market Street
                                 Suite 1100
 4                               Philadelphia, PA 19103-4104
                                 Telephone: (215) 299-4384
 5                               Facsimile:    (215) 981-0719
                                 Oliver.griffin@kutakrock.com
 6                               Melissa.bozeman@kutakrock.com
 7
                                 Attorneys for Plaintiff AnywhereCommerce, Inc.
 8

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